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                 EXHIBIT 8
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Product Index > Hardware, Fasteners, Accessories > Board Spacers, Standoffs                                                                                                                                                                                                                                                          Share

Results: 356


  Search Within Results

                Manufacturer                     Series      Part Status          Type       Threaded/Unthreaded           Gender     Screw, Thread Size        Diameter - Inside        Diameter - Outside            Between Board Height            Length - Overall             Plating
  Essentra Components                      -                 Active        Hex Standoff      Threaded               Female, Female    #10                     -                      0.156" (3.96mm) 5/32"         0.118" (3.00mm)               0.118" (3.00mm)                -
  Harwin Inc.                              ALSS              Obsolete      Round Spacer      Unthreaded             Male, Female      #10-32                 0.090" (2.29mm)       0.156" (3.96mm) 5/32" Hex    0.125" (3.18mm) 1/8"         0.125" (3.18mm) 1/8"          Gold Chromate
  Keystone Electronics                     AMPLIMITE                       Round Standoff                                             #2                      0.091" (2.31mm)        0.167" (4.24mm)               0.157" (4.00mm)               0.157" (4.00mm)                Iridite
  Panduit Corp                             HBSP                                                                                       #2-56                   0.114" (2.90mm)        0.177" (4.50mm) Hex           0.187" (4.75mm) 3/16"         0.187" (4.75mm) 3/16"
  TE Connectivity AMP Connectors           R30-620                                                                                    #4                      0.120" (3.05mm)        0.187" (4.75mm) 3/16"         0.197" (5.00mm)               0.197" (5.00mm)
                                           TALHS                                                                                      #4-40                   0.125" (3.18mm) 1/8"   0.187" (4.75mm) 3/16" Hex     0.236" (6.00mm)               0.236" (6.00mm)
                                                                                                                                      #6                      0.126" (3.20mm)        0.193" (4.90mm)               0.250" (6.35mm) 1/4"          0.250" (6.35mm) 1/4"
                                                                                                                                      #6-32                   0.140" (3.56mm)        0.197" (5.00mm)               0.276" (7.00mm)               0.276" (7.00mm)
                                                                                                                                      #8                      0.144" (3.66mm)        0.197" (5.00mm) Hex           0.312" (7.92mm) 5/16"         0.312" (7.92mm) 5/16"
                                                                                                                                      #8-32
                                                                                                                                      M2.5x0.45
                                                                                                                                                             0.151" (3.84mm)
                                                                                                                                                              0.166" (4.22mm)
                                                                                                                                                                                    0.217" (5.50mm) Hex
                                                                                                                                                                                     0.232" (5.89mm)
                                                                                                                                                                                                                  0.315" (8.00mm)
                                                                                                                                                                                                                   0.354" (9.00mm)
                                                                                                                                                                                                                                                0.315" (8.00mm)
                                                                                                                                                                                                                                                 0.354" (9.00mm)
                                                                                                                                                                                                                                                                          

                                                                                                                                                                                                                                                                                                                                                  
     In stock       Lead free      RoHS Compliant

   Clear All Selections         Apply Filters


  Search Entry: spacer Submit Query             aluminum spacer Submit Query


Results per Page 500           Page 1/1                                                                                                    Enter Quantity                                                                                                                                                                       Download Table

                                                                                                                                                                                                              Screw,
Compare                            Digi-Key Part      Manufacturer                                Quantity    Unit Price   Minimum                  Part                                                                   Diameter -         Diameter -      Between Board
                    Image                                          Manufacturer     Description                                       Series                     Type     Threaded/Unthreaded    Gender       Thread                                                             Length - Overall   Features    Material     Plating         Color
 Parts                               Number           Part Number                                 Available     USD        Quantity                Status                                                                    Inside            Outside            Height
                                                                                                                                                                                                               Size


                                                                                                  43,782 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      83,600 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                                36-2209-ND           2209                           6-32                      0.43000      1            -        Active                   Threaded                         #6-32               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          3/8"               3/8"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    3/8"

                                                                                    HEX
                                                                                    STANDOFF
                                                                    Keystone                      18,259 -                                                    Hex                               Female,                                    0.197" (5.00mm)
                                36-24434-ND          24434                          M3                        0.46000      1            -        Active                   Threaded                         M3                  -                             0.472" (12.00mm)   0.472" (12.00mm)       -       Aluminum    Iridite             -
                                                                    Electronics                   Immediate                                                   Standoff                          Female                                     Hex
                                                                                    ALUMINUM
                                                                                    12MM
                                                                                                  38,275 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      62,600 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                                36-2210-ND           2210                           6-32                      0.48000      1            -        Active                   Threaded                         #6-32               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          1/2"               1/2"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    1/2"

                                                                                                  26,917 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      47,900 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                                36-2203-ND           2203                           4-40                      0.48000      1            -        Active                   Threaded                         #4-40               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          1/2"               1/2"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    1/2"

                                                                                    HEX
                                                                                    STANDOFF
                                                                    Keystone                      64,828 -                                                    Hex                               Male,                                      0.250" (6.35mm)   0.250" (6.35mm)    0.437" (11.10mm)
                                36-8714-ND           8714                           4-40                      0.49000      1            -        Active                   Threaded                         #4-40               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Immediate                                                   Standoff                          Female                                     1/4" Hex          1/4"               7/16"
                                                                                    ALUMINUM
                                                                                    1/4"
                                                                                                  21,563 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      21,900 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                                36-1808-ND           1808                           4-40                      0.49000      1            -        Active                   Threaded                         #4-40               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          5/8"               5/8"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    5/8"

                                                                                                  14,754 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      25,900 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                                36-1813-ND           1813                           6-32                      0.49000      1            -        Active                   Threaded                         #6-32               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          5/8"               5/8"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    5/8"

                                                                                                  38,404 -
                                                                                    HEX
                                                                                                  Immediate
                                                                                    STANDOFF
                                                                    Keystone                      13,200 -                                                    Hex                               Female,                                    0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                                36-2204-ND           2204                           4-40                      0.52000      1            -        Active                   Threaded                         #4-40               -                                                                       -       Aluminum    Iridite             -
                                                                    Electronics                   Factory                                                     Standoff                          Female                                     1/4" Hex          3/4"               3/4"
                                                                                    ALUMINUM
                                                                                                  Stock
                                                                                    3/4"

                                36-2211-ND           2211           Keystone        HEX           14,033 -    0.52000      1            -        Active       Hex         Threaded              Female,    #6-32               -           0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)       -       Aluminum    Iridite             -
                                                                    Electronics     STANDOFF      Immediate                                                   Standoff                          Female                                     1/4" Hex          3/4"               3/4"
                                                                                    6-32          29,000 -
                                                                                                  Factory




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                                                                                                                                                                                  Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                         Diameter -      Diameter -      Between Board
          Image                                  Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                     Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                          Inside         Outside            Height
                                                                                                                                                                                   Size


                                                                ALUMINUM      Stock
                                                                3/4"



                                                                HEX
                                                                STANDOFF
                                                 Keystone                     12,644 -                                                Hex                              Male,                            0.197" (5.00mm)
                  36-24337-ND       24337                       M3                        0.53000      1            -      Active                Threaded                        M3            -                          0.394" (10.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                10MM
                                                                              32,391 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     16,600 -                                                Hex                              Male,                            0.250" (6.35mm)   0.250" (6.35mm)    0.500" (12.70mm)
                  36-8717-ND        8717                        6-32                      0.54000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1/4"               1/2"
                                                                ALUMINUM
                                                                              Stock
                                                                1/4"

                                                                              37,512 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     25,400 -                                                Hex                              Male,                            0.250" (6.35mm)   0.375" (9.53mm)    0.562" (14.27mm)
                  36-8400-ND        8400                        4-40                      0.55000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          3/8"               9/16"
                                                                ALUMINUM
                                                                              Stock
                                                                3/8"

                                                                              30,616 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     13,000 -                                                Hex                              Male,                            0.250" (6.35mm)   0.375" (9.53mm)    0.625" (15.88mm)
                  36-8413-ND        8413                        6-32                      0.57000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          3/8"               5/8"
                                                                ALUMINUM
                                                                              Stock
                                                                3/8"

                                                                              30,702 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     24,000 -                                                Hex                              Male,                            0.250" (6.35mm)   0.500" (12.70mm)   0.750" (19.05mm)
                  36-8414-ND        8414                        6-32                      0.58000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1/2"               3/4"
                                                                ALUMINUM
                                                                              Stock
                                                                1/2"

                                                                              9,022 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,100 -                                                 Hex                              Male,                            0.217" (5.50mm)
                  36-24343-ND       24343                       M3                        0.64000      1            -      Active                Threaded                        M3            -                          0.394" (10.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                10MM

                                                                              13,579 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     4,100 -                                                 Hex                              Female,                          0.187" (4.75mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1896-ND        1896                        4-40                      0.67000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           3/16" Hex         7/8"               7/8"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                              20,981 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     41,600 -                                                Hex                              Male,                            0.250" (6.35mm)   0.750" (19.05mm)   1.000" (25.40mm)
                  36-8416-ND        8416                        6-32                      0.74000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          3/4"               1"
                                                                ALUMINUM
                                                                              Stock
                                                                3/4"

                                                                              23,030 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      2,700 -                                                 Round                            Female,                          0.156" (3.96mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-1801B-ND       1801B                                                 0.75000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    2-56 ALUM     Factory                                                 Standoff                         Female                           5/32"             1/4"               1/4"
                                                                1/4"          Stock

                                                                              30,923 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     29,800 -                                                Hex                              Male,                            0.250" (6.35mm)   0.500" (12.70mm)   0.687" (17.45mm)
                  36-8401-ND        8401                        4-40                      0.76000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1/2"               11/16"
                                                                ALUMINUM
                                                                              Stock
                                                                1/2"

                                                                              5,428 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     20,000 -                                                Hex                              Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-2205-ND        2205                        4-40                      0.80000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     16,246 -                                                Hex                              Male,                            0.250" (6.35mm)   0.625" (15.88mm)   0.812" (20.62mm)
                  36-8402-ND        8402                        4-40                      0.82000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                           1/4" Hex          5/8"               13/16"
                                                                ALUMINUM
                                                                5/8"
                                                                              15,621 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     14,900 -                                                Hex                              Male,                            0.250" (6.35mm)   1.000" (25.40mm)   1.250" (31.75mm)
                  36-8418-ND        8418                        6-32                      0.84000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1"                 1 1/4"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              11,482 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     9,600 -                                                 Hex                              Female,                          0.156" (3.96mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-1797B-ND       1797B                       2-56                      0.87000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           5/32" Hex         1/4"               1/4"
                                                                ALUMINUM
                                                                              Stock
                                                                1/4"

                  36-8420-ND        8420                                                  0.92000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -




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                                                                                                                                                                              Screw,
Compare                         Manufacturer                              Quantity    Unit Price   Minimum                Part                                                           Diameter -       Diameter -      Between Board
          Image                              Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                        Length - Overall   Features    Material     Plating   Color
 Parts                Number    Part Number                               Available     USD        Quantity              Status                                                            Inside          Outside            Height
                                                                                                                                                                               Size


                                             Keystone       HEX           7,069 -                                                 Hex                              Male,                               0.250" (6.35mm)   1.250" (31.75mm)   1.500" (38.10mm)
                                             Electronics    STANDOFF      Immediate                                               Standoff                         Female                              1/4" Hex          1 1/4"             1 1/2"
                                                            6-32 ALUM     3,500 -
                                                            1-1/4"        Factory
                                                                          Stock

                                                                          12,758 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     8,100 -                                                 Hex                              Female,                             0.156" (3.96mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-1797D-ND   1797D                       2-56                      0.94000      1            -      Active                Threaded                        #2-56            -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                              5/32" Hex         3/8"               3/8"
                                                            ALUMINUM
                                                                          Stock
                                                            3/8"

                                                                          9,439 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     15,200 -                                                Hex                              Male,                               0.250" (6.35mm)   1.000" (25.40mm)   1.187" (30.15mm)
                  36-8405-ND    8405                        4-40                      0.96000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                              1/4" Hex          1"                 1 3/16"
                                                            ALUMINUM
                                                                          Stock
                                                            1"

                                                                          10,415 -
                                                            HEX           Immediate
                                             Keystone       STANDOFF      22,100 -                                                Hex                              Female,                             0.250" (6.35mm)   1.250" (31.75mm)   1.250" (31.75mm)
                  36-1818-ND    1818                                                  1.22000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 1/4"             1 1/4"
                                                            1-1/4"        Stock

                                                                          9,274 -
                                                            HEX           Immediate
                                             Keystone       STANDOFF      19,700 -                                                Hex                              Male,                               0.250" (6.35mm)   1.750" (44.45mm)   2.000" (50.80mm)
                  36-8424-ND    8424                                                  1.28000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 3/4"             2"
                                                            1-3/4"        Stock

                                                            HEX
                                                            STANDOFF
                                             Keystone                     1,277 -                                                 Hex                              Male,                               0.250" (6.35mm)   2.000" (50.80mm)   2.250" (57.15mm)
                  36-8425-ND    8425                        6-32                      1.30000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Immediate                                               Standoff                         Female                              1/4" Hex          2"                 2 1/4"
                                                            ALUMINUM
                                                            2"
                                                                          4,489 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      3,000 -                                                 Round                            Female,                             0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3483-ND    3483                                                  1.32000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                              1/4"              1 1/2"             1 1/2"
                                                            1-1/2"        Stock

                                                                          7,134 -
                                                            HEX           Immediate
                                             Keystone       STANDOFF      9,300 -                                                 Hex                              Male,                               0.250" (6.35mm)   1.500" (38.10mm)   1.687" (42.85mm)
                  36-8409-ND    8409                                                  1.43000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 1/2"             1 11/16"
                                                            1-1/2"        Stock

                                                                          3,865 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     6,100 -                                                 Hex                              Female,                             0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-2214-ND    2214                        6-32                      1.57000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                              1/4" Hex          2"                 2"
                                                            ALUMINUM
                                                                          Stock
                                                            2"

                                                            HEX
                                                            STANDOFF
                                             Keystone                     1,905 -                                                 Hex                              Female,                             0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-2207-ND    2207                        4-40                      1.57000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Immediate                                               Standoff                         Female                              1/4" Hex          2"                 2"
                                                            ALUMINUM
                                                            2"

                                                            HEX
                                             Keystone       STANDOFF      2,820 -                                                 Hex                              Male,                               0.250" (6.35mm)   1.750" (44.45mm)   2.125" (53.98mm)
                  36-8437-ND    8437                                                  1.61000      1            -      Active                Threaded                        #8-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    8-32 ALUM     Immediate                                               Standoff                         Female                              1/4" Hex          1 3/4"             2 1/8"
                                                            1-3/4"

                                                                          3,129 -
                                                            HEX           Immediate
                                             Keystone       STANDOFF      4,400 -                                                 Hex                              Female,                             0.250" (6.35mm)   2.250" (57.15mm)   2.250" (57.15mm)
                  36-1820-ND    1820                                                  1.75000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                             Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          2 1/4"             2 1/4"
                                                            2-1/4"        Stock

                                                                          5,877 -
                                                            ROUND         Immediate
                                             Keystone       SPACER #4     36,000 -                                                Round                            Female,             0.125" (3.18mm)                   0.250" (6.35mm)    0.250" (6.35mm)
                  36-398-ND     398                                                   0.16000      1            -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum          -       -
                                             Electronics    ALUMINUM      Factory                                                 Spacer                           Female              1/8"                              1/4"               1/4"
                                                            1/4"          Stock

                                                                          5,758 -
                                                            ROUND         Immediate
                                             Keystone       SPACER #4     11,800 -                                                Round                            Female,             0.125" (3.18mm)                   0.187" (4.75mm)    0.187" (4.75mm)
                  36-397-ND     397                                                   0.16000      1            -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum          -       -
                                             Electronics    ALUMINUM      Factory                                                 Spacer                           Female              1/8"                              3/16"              3/16"
                                                            3/16"         Stock

                                                                          6,450 -
                                                            ROUND         Immediate
                                             Keystone       SPACER #4     9,200 -                                                 Round                            Female,             0.125" (3.18mm)                   0.312" (7.92mm)    0.312" (7.92mm)
                  36-399-ND     399                                                   0.17000      1            -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum          -       -
                                             Electronics    ALUMINUM      Factory                                                 Spacer                           Female              1/8"                              5/16"              5/16"
                                                            5/16"         Stock

                  36-405-ND     405                                                   0.17000      1            -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum          -       -




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                                                                                                                                                                                 Screw,
Compare                         Manufacturer                               Quantity    Unit Price   Minimum                  Part                                                             Diameter -         Diameter -      Between Board
          Image                              Manufacturer    Description                                         Series                Type     Threaded/Unthreaded    Gender    Thread                                                            Length - Overall   Features    Material     Plating   Color
 Parts                Number    Part Number                                Available     USD        Quantity                Status                                                              Inside            Outside            Height
                                                                                                                                                                                  Size


                                              Keystone      ROUND          4,476 -                                                   Round                            Female,                                                   0.250" (6.35mm)    0.250" (6.35mm)
                                              Electronics   SPACER #6      Immediate                                                 Spacer                           Female                                                    1/4"               1/4"
                                                            ALUMINUM       160,000 -
                                                            1/4"           Factory
                                                                           Stock

                                                                           9,996 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #6      15,400 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.125" (3.18mm)    0.125" (3.18mm)
                  36-3403-ND    3403                                                   0.27000      1              -      Active                Unthreaded                      #6          0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              1/8"               1/8"
                                                            1/8"           Stock

                                                                           4,275 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #8      900 -                                                     Round                            Female,                                 0.250" (6.35mm)   0.125" (3.18mm)    0.125" (3.18mm)
                  36-4258-ND    4258                                                   0.27000      1              -      Active                Unthreaded                      #8          0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              1/8"               1/8"
                                                            1/8"           Stock


                                                            ROUND
                                              Keystone      SPACER #6      13,952 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-3464-ND    3464                                                   0.30000      1              -      Active                Unthreaded                      #6          0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Immediate                                                 Spacer                           Female                                  1/4"              1/4"               1/4"
                                                            1/4"

                                                                           10,999 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #8      3,800 -                                                   Round                            Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-3471-ND    3471                                                   0.30000      1              -      Active                Unthreaded                      #8          0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              1/4"               1/4"
                                                            1/4"           Stock

                                                                           8,524 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #4      22,200 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-3457-ND    3457                                                   0.30000      1              -      Active                Unthreaded                      #4          0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              1/4"               1/4"
                                                            1/4"           Stock

                                                                           14,723 -
                                                            ROUND          Immediate
                                              Keystone      STANDOFF       9,400 -                                                   Round                            Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-3478-ND    3478                                                   0.35000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                              Electronics   4-40 ALUM      Factory                                                   Standoff                         Female                                  1/4"              1/4"               1/4"
                                                            1/4"           Stock


                                                            ROUND
                                                            SPACER M3 6,736 -                                                        Round                            Female,                                                                                                                Gold
                  952-2365-ND   R30-6200314   Harwin Inc.                              0.35000      1          R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)     0.118" (3.00mm)    0.118" (3.00mm)       -       Aluminum                  -
                                                            ALUMINUM Immediate                                                       Spacer                           Female                                                                                                                 Chromate
                                                            3MM

                                                                           3,132 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #4      13,800 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3458-ND    3458                                                   0.35000      1              -      Active                Unthreaded                      #4          0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              3/8"               3/8"
                                                            3/8"           Stock


                                                            ROUND
                                                            SPACER M3 2,934 -                                                        Round                            Female,                                                                                                                Gold
                  952-3014-ND   R30-6200514   Harwin Inc.                              0.35000      1          R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)     0.197" (5.00mm)    0.197" (5.00mm)       -       Aluminum                  -
                                                            ALUMINUM Immediate                                                       Spacer                           Female                                                                                                                 Chromate
                                                            5MM

                                                            ROUND
                                                            SPACER M3 2,736 -                                                        Round                            Female,                                                                                                                Gold
                  952-2007-ND   R30-6200614   Harwin Inc.                              0.35000      1          R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)     0.236" (6.00mm)    0.236" (6.00mm)       -       Aluminum                  -
                                                            ALUMINUM Immediate                                                       Spacer                           Female                                                                                                                 Chromate
                                                            6MM

                                                                           2,804 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #6      12,400 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3465-ND    3465                                                   0.35000      1              -      Active                Unthreaded                      #6          0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              3/8"               3/8"
                                                            3/8"           Stock

                                                                           8,865 -
                                                            HEX
                                                                           Immediate
                                                            STANDOFF
                                              Keystone                     1,500 -                                                   Hex                              Female,                                 0.197" (5.00mm)
                  36-24430-ND   24430                       M3                         0.37000      1              -      Active                Threaded                        M3                 -                            0.197" (5.00mm)    0.197" (5.00mm)       -       Aluminum    Iridite       -
                                              Electronics                  Factory                                                   Standoff                         Female                                  Hex
                                                            ALUMINUM
                                                                           Stock
                                                            5MM

                                                            HEX
                                                            STANDOFF
                                              Keystone                     2,094 -                                                   Hex                              Female,                                 0.197" (5.00mm)
                  36-24431-ND   24431                       M3                         0.37000      1              -      Active                Threaded                        M3                 -                            0.236" (6.00mm)    0.236" (6.00mm)       -       Aluminum    Iridite       -
                                              Electronics                  Immediate                                                 Standoff                         Female                                  Hex
                                                            ALUMINUM
                                                            6MM
                                                                           2,864 -
                                                            ROUND          Immediate
                                              Keystone      SPACER #6      11,200 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3466-ND    3466                                                   0.38000      1              -      Active                Unthreaded                      #6          0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                              Electronics   ALUMINUM       Factory                                                   Spacer                           Female                                  1/4"              1/2"               1/2"
                                                            1/2"           Stock

                  36-24421-ND   24421         Keystone      HEX            1,689 -     0.38000      1              -      Active     Hex        Threaded              Female,   M2.5x0.45          -          0.177" (4.50mm)   0.236" (6.00mm)    0.236" (6.00mm)       -       Aluminum    Iridite       -
                                              Electronics   STANDOFF       Immediate                                                 Standoff                         Female                                  Hex
                                                            M2.5           2,200 -
                                                                           Factory




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                                                                                                                                                                                     Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                  Part                                                             Diameter -         Diameter -      Between Board
          Image                                  Manufacturer    Description                                         Series                Type     Threaded/Unthreaded    Gender    Thread                                                            Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity                Status                                                              Inside            Outside            Height
                                                                                                                                                                                      Size


                                                                ALUMINUM       Stock
                                                                6MM




                                                                ROUND
                                                  Keystone      SPACER #8      1,655 -                                                   Round                            Female,                                 0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3473-ND        3473                                                   0.38000      1              -      Active                Unthreaded                      #8          0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                  Electronics   ALUMINUM       Immediate                                                 Spacer                           Female                                  1/4"              1/2"               1/2"
                                                                1/2"

                                                                HEX
                                                                STANDOFF
                                                  Keystone                     14,208 -                                                  Hex                              Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-2201-ND        2201                        4-40                       0.39000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                  Immediate                                                 Standoff                         Female                                  1/4" Hex          1/4"               1/4"
                                                                ALUMINUM
                                                                1/4"
                                                                               13,964 -
                                                                ROUND          Immediate
                                                  Keystone      STANDOFF       18,000 -                                                  Round                            Female,                                 0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3479-ND        3479                                                   0.39000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   4-40 ALUM      Factory                                                   Standoff                         Female                                  1/4"              3/8"               3/8"
                                                                3/8"           Stock

                                                                               10,437 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     18,100 -                                                  Hex                              Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-2208-ND        2208                        6-32                       0.39000      1              -      Active                Threaded                        #6-32              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  1/4" Hex          1/4"               1/4"
                                                                ALUMINUM
                                                                               Stock
                                                                1/4"

                                                                ROUND
                                                                SPACER M3 8,762 -                                                        Round                            Female,                                                                                                                Gold
                  952-2381-ND       R30-6200814   Harwin Inc.                              0.39000      1          R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)     0.315" (8.00mm)    0.315" (8.00mm)       -       Aluminum                  -
                                                                ALUMINUM Immediate                                                       Spacer                           Female                                                                                                                 Chromate
                                                                8MM

                                                                ROUND
                                                                SPACER M3 5,230 -                                                        Round                            Female,                                                                                                                Gold
                  952-3015-ND       R30-6200714   Harwin Inc.                              0.39000      1          R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)     0.276" (7.00mm)    0.276" (7.00mm)       -       Aluminum                  -
                                                                ALUMINUM Immediate                                                       Spacer                           Female                                                                                                                 Chromate
                                                                7MM

                                                                               1,215 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     800 -                                                     Hex                              Female,                                 0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-2215-ND        2215                        8-32                       0.39000      1              -      Active                Threaded                        #8-32              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  1/4" Hex          1/4"               1/4"
                                                                ALUMINUM
                                                                               Stock
                                                                1/4"

                                                                               10,442 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     20,800 -                                                  Hex                              Female,                                 0.187" (4.75mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-1891-ND        1891                        4-40                       0.40000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  3/16" Hex         1/4"               1/4"
                                                                ALUMINUM
                                                                               Stock
                                                                1/4"

                                                                ROUND
                                                  Keystone      STANDOFF       8,424 -                                                   Round                            Female,                                 0.187" (4.75mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-2025-ND        2025                                                   0.40000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   4-40 ALUM      Immediate                                                 Standoff                         Female                                  3/16"             1/4"               1/4"
                                                                1/4"

                                                                HEX
                                                                STANDOFF
                                                  Keystone                     21,789 -                                                  Hex                              Female,                                 0.197" (5.00mm)
                  36-24433-ND       24433                       M3                         0.41000      1              -      Active                Threaded                        M3                 -                            0.394" (10.00mm)   0.394" (10.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                  Immediate                                                 Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                10MM
                                                                               4,726 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     25,100 -                                                  Hex                              Female,                                 0.197" (5.00mm)
                  36-24432-ND       24432                       M3                         0.41000      1              -      Active                Threaded                        M3                 -                            0.315" (8.00mm)    0.315" (8.00mm)       -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                               Stock
                                                                8MM

                                                                               4,577 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     400 -                                                     Hex                              Female,                                 0.236" (5.99mm)
                  36-24453-ND       24453                       M4                         0.41000      1              -      Active                Threaded                        M4                 -                            0.394" (10.00mm)   0.394" (10.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                               Stock
                                                                10MM

                                                                HEX
                                                                STANDOFF
                                                  Keystone                     22,873 -                                                  Hex                              Female,                                 0.177" (4.50mm)
                  36-24422-ND       24422                       M2.5                       0.43000      1              -      Active                Threaded                        M2.5x0.45          -                            0.315" (8.00mm)    0.315" (8.00mm)       -       Aluminum    Iridite       -
                                                  Electronics                  Immediate                                                 Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                8MM
                                                                               8,520 -
                                                                HEX
                                                                               Immediate
                                                                STANDOFF
                                                  Keystone                     28,900 -                                                  Hex                              Female,                                 0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-2202-ND        2202                        4-40                       0.43000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                  Factory                                                   Standoff                         Female                                  1/4" Hex          3/8"               3/8"
                                                                ALUMINUM
                                                                               Stock
                                                                3/8"

                                                                               8,658 -
                                                                ROUND          Immediate
                                                  Keystone      STANDOFF       1,300 -                                                   Round                            Female,                                 0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3487-ND        3487                                                   0.44000      1              -      Active                Threaded                        #6-32              -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   6-32 ALUM      Factory                                                   Standoff                         Female                                  1/4"              1/2"               1/2"
                                                                1/2"           Stock

                  36-3480-ND        3480                                                   0.44000      1              -      Active                Threaded                        #4-40              -                                                                     -       Aluminum    Iridite       -




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                                                                                                                          24
                                                                                                                                                                              Screw,
Compare                         Manufacturer                              Quantity    Unit Price   Minimum                Part                                                           Diameter -      Diameter -      Between Board
          Image                              Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                       Length - Overall   Features    Material     Plating   Color
 Parts                Number    Part Number                               Available     USD        Quantity              Status                                                            Inside         Outside            Height
                                                                                                                                                                               Size


                                             Keystone       ROUND         2,630 -                                                 Round                            Female,                            0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                                             Electronics    STANDOFF      Immediate                                               Standoff                         Female                             1/4"              1/2"               1/2"
                                                            4-40 ALUM
                                                            1/2"

                                                                          7,163 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     3,800 -                                                 Hex                              Female,                            0.177" (4.50mm)
                  36-24423-ND   24423                       M2.5                      0.45000      1            -      Active                Threaded                        M2.5x0.45       -                          0.394" (10.00mm)   0.394" (10.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             Hex
                                                            ALUMINUM
                                                                          Stock
                                                            10MM

                                                                          10,289 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     6,100 -                                                 Hex                              Female,                            0.197" (5.00mm)
                  36-24435-ND   24435                       M3                        0.46000      1            -      Active                Threaded                        M3              -                          0.591" (15.00mm)   0.591" (15.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             Hex
                                                            ALUMINUM
                                                                          Stock
                                                            15MM

                                                                          4,683 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      8,400 -                                                 Round                            Female,                            0.187" (4.75mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-2026-ND    2026                                                  0.46000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                             3/16"             3/8"               3/8"
                                                            3/8"          Stock

                                                            HEX
                                                            STANDOFF
                                             Keystone                     2,368 -                                                 Hex                              Female,                            0.217" (5.50mm)
                  36-24445-ND   24445                       M3                        0.46000      1            -      Active                Threaded                        M3              -                          0.591" (15.00mm)   0.591" (15.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Immediate                                               Standoff                         Female                             Hex
                                                            ALUMINUM
                                                            15MM
                                                                          234,108 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     67,400 -                                                Hex                              Female,                            0.187" (4.75mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-1892-ND    1892                        4-40                      0.47000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             3/16" Hex         3/8"               3/8"
                                                            ALUMINUM
                                                                          Stock
                                                            3/8"

                                                            ROUND
                                             Keystone       STANDOFF      4,487 -                                                 Round                            Female,                            0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1839-ND    1839                                                  0.47000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Immediate                                               Standoff                         Female                             1/4"              5/8"               5/8"
                                                            5/8"

                                                                          2,688 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     2,400 -                                                 Hex                              Female,                            0.177" (4.50mm)
                  36-24424-ND   24424                       M2.5                      0.48000      1            -      Active                Threaded                        M2.5x0.45       -                          0.472" (12.00mm)   0.472" (12.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             Hex
                                                            ALUMINUM
                                                                          Stock
                                                            12MM

                                                                          8,851 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      6,200 -                                                 Round                            Female,                            0.187" (4.75mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-2027-ND    2027                                                  0.49000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                             3/16"             1/2"               1/2"
                                                            1/2"          Stock

                                                                          6,277 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     2,000 -                                                 Hex                              Female,                            0.197" (5.00mm)
                  36-24436-ND   24436                       M3                        0.49000      1            -      Active                Threaded                        M3              -                          0.709" (18.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             Hex
                                                            ALUMINUM
                                                                          Stock
                                                            18MM

                                                                          5,168 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      2,200 -                                                 Round                            Female,                            0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3481-ND    3481                                                  0.49000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                             1/4"              3/4"               3/4"
                                                            3/4"          Stock

                                                                          838 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      13,000 -                                                Round                            Female,                            0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3488-ND    3488                                                  0.49000      1            -      Active                Threaded                        #6-32           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                             1/4"              3/4"               3/4"
                                                            3/4"          Stock

                                                                          31,617 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     5,800 -                                                 Hex                              Female,                            0.187" (4.75mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-1893-ND    1893                        4-40                      0.50000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             3/16" Hex         1/2"               1/2"
                                                            ALUMINUM
                                                                          Stock
                                                            1/2"

                                                                          4,546 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      7,800 -                                                 Round                            Female,                            0.187" (4.75mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-2028-ND    2028                                                  0.52000      1            -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                             Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                             3/16"             5/8"               5/8"
                                                            5/8"          Stock

                                                                          4,468 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     4,900 -                                                 Hex                              Male,                              0.177" (4.50mm)
                  36-24331-ND   24331                       M2.5                      0.54000      1            -      Active                Threaded                        M2.5x0.45       -                          0.394" (10.00mm)   0.551" (14.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                             Hex
                                                            ALUMINUM
                                                                          Stock
                                                            10MM

                  36-1894-ND    1894         Keystone       HEX           6,027 -     0.55000      1            -      Active     Hex        Threaded              Female,   #4-40           -        0.187" (4.75mm)   0.625" (15.88mm)   0.625" (15.88mm)      -       Aluminum    Iridite       -
                                             Electronics    STANDOFF      Immediate                                               Standoff                         Female                             3/16" Hex         5/8"               5/8"




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                                                                                                                              24
                                                                                                                                                                                   Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                Part                                                         Diameter -      Diameter -      Between Board
          Image                                  Manufacturer   Description                                        Series                Type     Threaded/Unthreaded    Gender    Thread                                                     Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity              Status                                                          Inside         Outside            Height
                                                                                                                                                                                    Size


                                                                4-40          9,400 -
                                                                ALUMINUM      Factory
                                                                5/8"          Stock


                                                                              4,774 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     19,300 -                                                 Hex                              Female,                          0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1816-ND        1816                        6-32                       0.57000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           1/4" Hex          7/8"               7/8"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                              3,726 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,600 -                                                  Round                            Female,                          0.187" (4.75mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-2029-ND        2029                                                   0.57000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                  Standoff                         Female                           3/16"             3/4"               3/4"
                                                                3/4"          Stock

                                                                              7,463 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     7,100 -                                                  Hex                              Female,                          0.187" (4.75mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-1895-ND        1895                        4-40                       0.61000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           3/16" Hex         3/4"               3/4"
                                                                ALUMINUM
                                                                              Stock
                                                                3/4"

                                                                              15,229 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      8,600 -                                                  Round                            Female,                          0.187" (4.75mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-2030-ND        2030                                                   0.63000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                  Standoff                         Female                           3/16"             7/8"               7/8"
                                                                7/8"          Stock

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     8,595 -                                                  Hex                              Female,                          0.197" (5.00mm)
                  36-24437-ND       24437                       M3                         0.68000      1            -      Active                Threaded                        M3            -                          0.787" (20.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                20MM
                                                                              3,824 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,300 -                                                  Hex                              Female,                          0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1809-ND        1809                        4-40                       0.72000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           1/4" Hex          7/8"               7/8"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     1,462 -                                                  Hex                              Male,                            0.236" (5.99mm)
                  36-24349-ND       24349                       M4                         0.72000      1            -      Active                Threaded                        M4            -                          0.394" (10.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                10MM
                                                                HEX
                                                                STANDOFF
                                                 Keystone                     24,858 -                                                 Hex                              Male,                            0.250" (6.35mm)   0.625" (15.88mm)   0.875" (22.23mm)
                  36-8415-ND        8415                        6-32                       0.73000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                Standoff                         Female                           1/4" Hex          5/8"               7/8"
                                                                ALUMINUM
                                                                5/8"
                                                                              3,584 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,900 -                                                  Hex                              Male,                            0.236" (5.99mm)
                  36-24350-ND       24350                       M4                         0.73000      1            -      Active                Threaded                        M4            -                          0.472" (12.00mm)   0.866" (22.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                12MM

                                                                              1,238 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,900 -                                                  Hex                              Female,                          0.236" (5.99mm)
                  36-24457-ND       24457                       M4                         0.73000      1            -      Active                Threaded                        M4            -                          0.787" (20.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                20MM

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     1,374 -                                                  Hex                              Male,                            0.197" (5.00mm)
                  36-24338-ND       24338                       M3                         0.73000      1            -      Active                Threaded                        M3            -                          0.472" (12.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                12MM
                                                                HEX
                                                                STANDOFF
                                                 Keystone                     2,714 -                                                  Hex                              Female,                          0.250" (6.35mm)   0.437" (11.10mm)   0.437" (11.10mm)
                  36-NC121034A-ND NC121034A                     4-40                       0.74000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                Standoff                         Female                           1/4" Hex          7/16"              7/16"
                                                                ALUMINUM
                                                                7/16"
                                                                              5,536 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     6,500 -                                                  Hex                              Male,                            0.250" (6.35mm)   0.375" (9.53mm)    0.750" (19.05mm)
                  36-8426-ND        8426                        8-32                       0.75000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           1/4" Hex          3/8"               3/4"
                                                                ALUMINUM
                                                                              Stock
                                                                3/8"

                                                                              5,308 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     4,600 -                                                  Hex                              Male,                            0.250" (6.35mm)   0.500" (12.70mm)   0.875" (22.23mm)
                  36-8427-ND        8427                        8-32                       0.76000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                           1/4" Hex          1/2"               7/8"
                                                                ALUMINUM
                                                                              Stock
                                                                1/2"

                  36-24438-ND       24438        Keystone       HEX           3,059 -      0.76000      1            -      Active     Hex        Threaded              Female,   M3            -        0.197" (5.00mm)   0.984" (25.00mm)   0.984" (25.00mm)      -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Immediate                                                Standoff                         Female                           Hex
                                                                M3            3,800 -
                                                                              Factory




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                                                                                                                                                                                  Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                         Diameter -      Diameter -      Between Board
          Image                                  Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                     Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                          Inside         Outside            Height
                                                                                                                                                                                   Size


                                                                ALUMINUM      Stock
                                                                25MM
                                                                              2,730 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,900 -                                                 Round                            Female,                          0.156" (3.96mm)   0.187" (4.75mm)    0.187" (4.75mm)
                  36-1801A-ND       1801A                                                 0.76000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    2-56 ALUM     Factory                                                 Standoff                         Female                           5/32"             3/16"              3/16"
                                                                3/16"         Stock

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     1,958 -                                                 Hex                              Male,                            0.250" (6.35mm)   0.312" (7.92mm)
                  36-NC145314A-ND NC145314A                     4-40                      0.77000      1            -      Active                Threaded                        #4-40         -                                             0.499" (12.67mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                           1/4" Hex          5/16"
                                                                ALUMINUM
                                                                5/16"
                                                                HEX
                                                                STANDOFF
                                                 Keystone                     6,596 -                                                 Hex                              Male,                            0.197" (5.00mm)
                  36-24339-ND       24339                       M3                        0.78000      1            -      Active                Threaded                        M3            -                          0.591" (15.00mm)   0.906" (23.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                15MM
                                                                              3,175 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,100 -                                                 Hex                              Male,                            0.236" (5.99mm)
                  36-24351-ND       24351                       M4                        0.78000      1            -      Active                Threaded                        M4            -                          0.591" (15.00mm)   0.984" (25.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                15MM

                                                                              7,145 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     5,900 -                                                 Round                            Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3482-ND        3482                        4-40                      0.79000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4"              1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              1,610 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     4,000 -                                                 Round                            Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3489-ND        3489                        6-32                      0.79000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4"              1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              3,663 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     7,000 -                                                 Hex                              Male,                            0.250" (6.35mm)   0.875" (22.23mm)   1.125" (28.58mm)
                  36-8417-ND        8417                        6-32                      0.80000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          7/8"               1 1/8"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                              3,623 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     35,000 -                                                Hex                              Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-2212-ND        2212                        6-32                      0.80000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              2,865 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     8,300 -                                                 Hex                              Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-2219-ND        2219                        8-32                      0.80000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              3,358 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      4,200 -                                                 Round                            Female,                          0.156" (3.96mm)   0.312" (7.92mm)    0.312" (7.92mm)
                  36-1801C-ND       1801C                                                 0.82000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    2-56 ALUM     Factory                                                 Standoff                         Female                           5/32"             5/16"              5/16"
                                                                5/16"         Stock

                                                                              1,892 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     4,000 -                                                 Hex                              Female,                          0.156" (3.96mm)   0.187" (4.75mm)    0.187" (4.75mm)
                  36-1797A-ND       1797A                       2-56                      0.82000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           5/32" Hex         3/16"              3/16"
                                                                ALUMINUM
                                                                              Stock
                                                                3/16"

                                                                              1,398 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     300 -                                                   Hex                              Male,                            0.250" (6.35mm)   0.625" (15.88mm)   1.000" (25.40mm)
                  36-8428-ND        8428                        8-32                      0.82000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          5/8"               1"
                                                                ALUMINUM
                                                                              Stock
                                                                5/8"

                                                                              27,507 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     14,700 -                                                Hex                              Male,                            0.250" (6.35mm)   0.750" (19.05mm)   0.937" (23.80mm)
                  36-8403-ND        8403                        4-40                      0.84000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          3/4"               15/16"
                                                                ALUMINUM
                                                                              Stock
                                                                3/4"

                                                                              9,284 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      5,100 -                                                 Hex                              Male,                            0.250" (6.35mm)   1.125" (28.58mm)   1.375" (34.93mm)
                  36-8419-ND        8419                                                  0.86000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                           1/4" Hex          1 1/8"             1 3/8"
                                                                1-1/8"        Stock

                  36-1897-ND        1897         Keystone       HEX           2,476 -     0.88000      1            -      Active     Hex        Threaded              Female,   #4-40         -        0.187" (4.75mm)   1.000" (25.40mm)   1.000" (25.40mm)      -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Immediate                                               Standoff                         Female                           3/16" Hex         1"                 1"
                                                                4-40          12,700 -
                                                                              Factory




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                                                                                                  24
                                                                                                                                                                                  Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                         Diameter -      Diameter -      Between Board
          Image                                  Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                     Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                          Inside         Outside            Height
                                                                                                                                                                                   Size


                                                                ALUMINUM      Stock
                                                                1"



                                                                              1,795 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     300 -                                                   Hex                              Male,                            0.250" (6.35mm)   0.250" (6.35mm)    0.625" (15.88mm)
                  36-8733-ND        8733                        8-32                      0.88000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1/4"               5/8"
                                                                ALUMINUM
                                                                              Stock
                                                                1/4"

                                                                              1,780 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,000 -                                                 Round                            Female,                          0.187" (4.75mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-2031-ND        2031                        4-40                      0.88000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           3/16"             1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              4,236 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     6,600 -                                                 Hex                              Male,                            0.250" (6.35mm)   0.875" (22.23mm)   1.062" (26.97mm)
                  36-8404-ND        8404                        4-40                      0.91000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          7/8"               1 1/16"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                              4,114 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     4,200 -                                                 Hex                              Female,                          0.156" (3.96mm)   0.312" (7.92mm)    0.312" (7.92mm)
                  36-1797C-ND       1797C                       2-56                      0.91000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           5/32" Hex         5/16"              5/16"
                                                                ALUMINUM
                                                                              Stock
                                                                5/16"

                                                                              1,444 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     6,500 -                                                 Hex                              Male,                            0.236" (5.99mm)
                  36-24353-ND       24353                       M4                        0.93000      1            -      Active                Threaded                        M4            -                          0.787" (20.00mm)   1.181" (30.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                20MM

                                                                              2,996 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      3,500 -                                                 Round                            Female,                          0.156" (3.96mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-1801D-ND       1801D                                                 0.95000      1            -      Active                Threaded                        #2-56         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    2-56 ALUM     Factory                                                 Standoff                         Female                           5/32"             3/8"               3/8"
                                                                3/8"          Stock

                                                                              1,867 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,500 -                                                 Hex                              Male,                            0.236" (5.99mm)
                  36-24354-ND       24354                       M4                        0.98000      1            -      Active                Threaded                        M4            -                          0.984" (25.00mm)   1.378" (35.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                              Stock
                                                                25MM

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     1,065 -                                                 Hex                              Male,                            0.197" (5.00mm)
                  36-24342-ND       24342                       M3                        1.00000      1            -      Active                Threaded                        M3            -                          0.984" (25.00mm)   1.299" (33.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                           Hex
                                                                ALUMINUM
                                                                25MM
                                                                              5,475 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     10,700 -                                                Hex                              Male,                            0.250" (6.35mm)   1.000" (25.40mm)   1.375" (34.93mm)
                  36-8431-ND        8431                        8-32                      1.03000      1            -      Active                Threaded                        #8-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                           1/4" Hex          1"                 1 3/8"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              5,964 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      4,400 -                                                 Hex                              Male,                            0.250" (6.35mm)   1.375" (34.93mm)   1.625" (41.28mm)
                  36-8421-ND        8421                                                  1.05000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                           1/4" Hex          1 3/8"             1 5/8"
                                                                1-3/8"        Stock

                                                                              2,040 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      3,800 -                                                 Hex                              Male,                            0.250" (6.35mm)   1.125" (28.58mm)   1.312" (33.32mm)
                  36-8406-ND        8406                                                  1.18000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                           1/4" Hex          1 1/8"             1 5/16"
                                                                1-1/8"        Stock

                                                                              6,164 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      3,000 -                                                 Hex                              Male,                            0.250" (6.35mm)   1.250" (31.75mm)   1.437" (36.50mm)
                  36-8407-ND        8407                                                  1.19000      1            -      Active                Threaded                        #4-40         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                           1/4" Hex          1 1/4"             1 7/16"
                                                                1-1/4"        Stock

                                                                              1,328 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,500 -                                                 Round                            Female,                          0.250" (6.35mm)   1.250" (31.75mm)   1.250" (31.75mm)
                  36-1853-ND        1853                                                  1.19000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                           1/4"              1 1/4"             1 1/4"
                                                                1-1/4"        Stock

                                                                              4,595 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      4,400 -                                                 Hex                              Male,                            0.250" (6.35mm)   1.500" (38.10mm)   1.750" (44.45mm)
                  36-8422-ND        8422                                                  1.20000      1            -      Active                Threaded                        #6-32         -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                           1/4" Hex          1 1/2"             1 3/4"
                                                                1-1/2"        Stock




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                                  Case
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                                                                                                                                                                                  Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                           Diameter -       Diameter -      Between Board
          Image                                  Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                        Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                            Inside          Outside            Height
                                                                                                                                                                                   Size


                  36-8423-ND        8423         Keystone       HEX           9,301 -     1.22000      1            -      Active     Hex        Threaded              Male,     #6-32            -        0.250" (6.35mm)   1.625" (41.28mm)   1.875" (47.63mm)      -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Immediate                                               Standoff                         Female                              1/4" Hex          1 5/8"             1 7/8"
                                                                6-32 ALUM     3,200 -
                                                                1-5/8"        Factory
                                                                              Stock

                                                                              19,098 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      7,800 -                                                 Hex                              Female,                             0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-2213-ND        2213                                                  1.36000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 1/2"             1 1/2"
                                                                1-1/2"        Stock

                                                                              5,144 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      6,800 -                                                 Hex                              Female,                             0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-2206-ND        2206                                                  1.36000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 1/2"             1 1/2"
                                                                1-1/2"        Stock


                                                                HEX
                                                 Keystone       STANDOFF      1,762 -                                                 Hex                              Female,                             0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-2220-ND        2220                                                  1.36000      1            -      Active                Threaded                        #8-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Immediate                                               Standoff                         Female                              1/4" Hex          1 1/2"             1 1/2"
                                                                1-1/2"

                                                                              5,025 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      7,100 -                                                 Hex                              Female,                             0.250" (6.35mm)   1.750" (44.45mm)   1.750" (44.45mm)
                  36-1819-ND        1819                                                  1.43000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 3/4"             1 3/4"
                                                                1-3/4"        Stock

                                                                              3,261 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      2,000 -                                                 Hex                              Male,                               0.250" (6.35mm)   1.625" (41.28mm)   1.812" (46.02mm)
                  36-8410-ND        8410                                                  1.47000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          1 5/8"             1 13/16"
                                                                1-5/8"        Stock

                                                                              3,281 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,400 -                                                 Round                            Female,                             0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3484-ND        3484                        4-40                      1.53000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                              1/4"              2"                 2"
                                                                ALUMINUM
                                                                              Stock
                                                                2"

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     2,467 -                                                 Hex                              Female,                             0.250" (6.35mm)   3.000" (76.20mm)   3.000" (76.20mm)
                  36-NC121366A-ND NC121366A                     6-32                      1.54000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                               Standoff                         Female                              1/4" Hex          3"                 3"
                                                                ALUMINUM
                                                                3"
                                                                              2,191 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,300 -                                                 Hex                              Male,                               0.250" (6.35mm)   2.000" (50.80mm)   2.187" (55.55mm)
                  36-8412-ND        8412                        4-40                      1.56000      1            -      Active                Threaded                        #4-40            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                              1/4" Hex          2"                 2 3/16"
                                                                ALUMINUM
                                                                              Stock
                                                                2"

                                                                              1,481 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,700 -                                                 Hex                              Female,                             0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-2221-ND        2221                        8-32                      1.57000      1            -      Active                Threaded                        #8-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                              1/4" Hex          2"                 2"
                                                                ALUMINUM
                                                                              Stock
                                                                2"

                                                                              1,356 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      700 -                                                   Round                            Female,                             0.250" (6.35mm)   2.500" (63.50mm)   2.500" (63.50mm)
                  36-1857-ND        1857                                                  1.87000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4"              2 1/2"             2 1/2"
                                                                2-1/2"        Stock

                                                                              1,782 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      9,200 -                                                 Hex                              Female,                             0.250" (6.35mm)   2.500" (63.50mm)   2.500" (63.50mm)
                  36-1825-ND        1825                                                  1.91000      1            -      Active                Threaded                        #6-32            -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                              1/4" Hex          2 1/2"             2 1/2"
                                                                2-1/2"        Stock

                                                                              22,924 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #6     11,100 -                                                Round                            Female,                                               0.500" (12.70mm)   0.500" (12.70mm)
                  36-409-ND         409                                                   0.18000      1            -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                                1/2"               1/2"
                                                                1/2"          Stock

                                                                              1,669 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,500 -                                                 Hex                              Female,                             0.236" (5.99mm)
                  36-24450-ND       24450                       M4                        0.37000      1            -      Active                Threaded                        M4               -                          0.197" (5.00mm)    0.197" (5.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                              Hex
                                                                ALUMINUM
                                                                              Stock
                                                                5MM

                                                                              1,123 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,800 -                                                 Hex                              Female,                             0.236" (5.99mm)
                  36-24451-ND       24451                       M4                        0.37000      1            -      Active                Threaded                        M4               -                          0.236" (6.00mm)    0.236" (6.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                              Hex
                                                                ALUMINUM
                                                                              Stock
                                                                6MM




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                                  Case
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                                                                                                  24
                                                                                                                                                                                  Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                           Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                            Inside            Outside            Height
                                                                                                                                                                                   Size


                  36-3429-ND        3429         Keystone       ROUND         107,561 -   0.42000      1            -      Active     Round      Unthreaded            Female,   #6        0.144" (3.66mm) 0.250" (6.35mm)     0.625" (15.88mm)   0.625" (15.88mm)      -       Aluminum    Iridite       -
                                                 Electronics    SPACER #6     Immediate                                               Spacer                           Female                              1/4"                5/8"               5/8"
                                                                ALUMINUM
                                                                5/8"

                                                                              1,142 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #4     1,400 -                                                 Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-2314-ND        2314                                                  0.42000      1            -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                1/4"              5/8"               5/8"
                                                                5/8"          Stock

                                                                              2,581 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,600 -                                                 Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1858-ND        1858                                                  0.47000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                 Standoff                         Female                                1/4"              5/8"               5/8"
                                                                5/8"          Stock

                                                                              1,181 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #8     900 -                                                   Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-4260-ND        4260                                                  0.49000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                1/4"              7/8"               7/8"
                                                                7/8"          Stock

                                                                              1,542 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #6     5,800 -                                                 Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3468-ND        3468                                                  0.53000      1            -      Active                Unthreaded                      #6        0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                1/4"              1"                 1"
                                                                1"            Stock

                                                                              1,069 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      2,100 -                                                 Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1847-ND        1847                                                  0.56000      1            -      Active                Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                                1/4"              5/8"               5/8"
                                                                5/8"          Stock


                                                                ROUND
                                                 Keystone       STANDOFF      1,249 -                                                 Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1846-ND        1846                                                  0.71000      1            -      Active                Threaded                        #4-40            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Immediate                                               Standoff                         Female                                1/4"              7/8"               7/8"
                                                                7/8"

                                                                              1,132 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,800 -                                                 Hex                              Female,                               0.375" (9.53mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-1926B-ND       1926B                       8-32                      0.74000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                                3/8" Hex          1/2"               1/2"
                                                                ALUMINUM
                                                                              Stock
                                                                1/2"

                                                                              1,096 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,000 -                                                 Hex                              Male,                                 0.250" (6.35mm)   0.875" (22.23mm)   1.250" (31.75mm)
                  36-8430-ND        8430                        8-32                      0.98000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                 Standoff                         Female                                1/4" Hex          7/8"               1 1/4"
                                                                ALUMINUM
                                                                              Stock
                                                                7/8"

                                                                              920 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,900 -                                                 Round                            Female,                               0.250" (6.35mm)   1.750" (44.45mm)   1.750" (44.45mm)
                  36-1855-ND        1855                                                  1.40000      1            -      Active                Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                                1/4"              1 3/4"             1 3/4"
                                                                1-3/4"        Stock

                                                                              1,634 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      200 -                                                   Round                            Female,                               0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3497-ND        3497                                                  1.51000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                 Standoff                         Female                                1/4"              1 1/2"             1 1/2"
                                                                1-1/2"        Stock


                                                                ROUND
                                                 Keystone       SPACER #8     1,732 -                                                 Round                            Female,                               0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3477-ND        3477                                                  1.52000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Immediate                                               Spacer                           Female                                1/4"              2"                 2"
                                                                2"

                                                                              5,320 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #6     13,800 -                                                Round                            Female,                                                 0.625" (15.88mm)   0.625" (15.88mm)
                  36-410-ND         410                                                   0.16000      1            -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                              -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                                  5/8"               5/8"
                                                                5/8"          Stock

                                                                              9,509 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #6     4,300 -                                                 Round                            Female,                                                 0.312" (7.92mm)    0.312" (7.92mm)
                  36-406-ND         406                                                   0.17000      1            -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                              -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                                  5/16"              5/16"
                                                                5/16"         Stock

                                                                              6,910 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #4     1,500 -                                                 Round                            Female,             0.125" (3.18mm)                     0.375" (9.53mm)    0.375" (9.53mm)
                  36-400-ND         400                                                   0.17000      1            -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                              -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Factory                                                 Spacer                           Female              1/8"                                3/8"               3/8"
                                                                3/8"          Stock

                  36-407-ND         407          Keystone       ROUND         5,544 -     0.17000      1            -      Active     Round      Unthreaded            Female,   #6        0.151" (3.84mm) 0.193" (4.90mm)     0.375" (9.53mm)    0.375" (9.53mm)       -       Aluminum          -       -
                                                 Electronics    SPACER #6     Immediate                                               Spacer                           Female                                                  3/8"               3/8"




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                                                                                                  24
                                                                                                                                                                                      Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                             Diameter -       Diameter -      Between Board
          Image                                  Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity                 Status                                                              Inside          Outside            Height
                                                                                                                                                                                       Size


                                                                ALUMINUM      5,500 -
                                                                3/8"          Factory
                                                                              Stock



                                                                ROUND
                                                  Keystone      SPACER #8     5,511 -                                                     Round                            Female,                                                 0.250" (6.35mm)    0.250" (6.35mm)
                  36-412-ND         412                                                    0.22000      1               -      Active                Unthreaded                      #8          0.178" (4.52mm) 0.232" (5.89mm)                                            -       Aluminum          -       -
                                                  Electronics   ALUMINUM      Immediate                                                   Spacer                           Female                                                  1/4"               1/4"
                                                                1/4"

                                                                              4,337 -
                                                                ROUND         Immediate
                                                  Keystone      SPACER #8     4,000 -                                                     Round                            Female,                                                 0.625" (15.88mm)   0.625" (15.88mm)
                  36-417-ND         417                                                    0.25000      1               -      Active                Unthreaded                      #8          0.178" (4.52mm) 0.232" (5.89mm)                                            -       Aluminum          -       -
                                                  Electronics   ALUMINUM      Factory                                                     Spacer                           Female                                                  5/8"               5/8"
                                                                5/8"          Stock


                                                                ROUND
                                                                SPACER M3 9,992 -                                                         Round                            Female,                                                                                                              Gold
                  952-3083-ND       R30-6201314   Harwin Inc.                              0.32000      1           R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)   0.512" (13.00mm)   0.512" (13.00mm)      -       Aluminum                  -
                                                                ALUMINUM Immediate                                                        Spacer                           Female                                                                                                               Chromate
                                                                13MM

                                                                              2,720 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    5,600 -                                                     Hex                              Female,                               0.217" (5.50mm)
                  36-24443-ND       24443                       M3                         0.41000      1               -      Active                Threaded                        M3                 -                          0.394" (10.00mm)   0.394" (10.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                10MM

                                                                HEX
                                                                STANDOFF
                                                  Keystone                    3,000 -                                                     Hex                              Female,                               0.177" (4.50mm)
                  36-24426-ND       24426                       M2.5                       0.58000      1               -      Active                Threaded                        M2.5x0.45          -                          0.709" (18.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Immediate                                                   Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                18MM
                                                                              1,271 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    4,000 -                                                     Hex                              Female,                               0.177" (4.50mm)
                  36-24427-ND       24427                       M2.5                       0.63000      1               -      Active                Threaded                        M2.5x0.45          -                          0.787" (20.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                20MM

                                                                              1,458 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    6,600 -                                                     Hex                              Male,                                 0.177" (4.50mm)
                  36-24333-ND       24333                       M2.5                       0.78000      1               -      Active                Threaded                        M2.5x0.45          -                          0.591" (15.00mm)   0.748" (19.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                15MM

                                                                              1,700 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    2,100 -                                                     Hex                              Male,                                 0.217" (5.50mm)
                  36-24346-ND       24346                       M3                         0.81000      1               -      Active                Threaded                        M3                 -                          0.709" (18.00mm)   1.024" (26.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                18MM

                                                                              2,474 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    1,200 -                                                     Hex                              Male,                                 0.177" (4.50mm)
                  36-24335-ND       24335                       M2.5                       0.86000      1               -      Active                Threaded                        M2.5x0.45          -                          0.787" (20.00mm)   0.945" (24.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                20MM

                                                                ROUND
                                                                SPACER M3 4,317 -                       1                                 Round                            Female,                                                                                                              Gold
                  952-3016-ND       R30-6201614   Harwin Inc.                              0.49000                  R30-620    Active                Unthreaded                      M3          0.126" (3.20mm) 0.197" (5.00mm)   0.630" (16.00mm)   0.630" (16.00mm)      -       Aluminum                  -
                                                                ALUMINUM Immediate                      Non-Stock                         Spacer                           Female                                                                                                               Chromate
                                                                16MM

                                                                              3,813 -
                                                                ROUND         Immediate
                                                  Keystone      STANDOFF      1,000 -                   1                                 Round                            Female,                               0.375" (9.53mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-2315C-ND       2315C                                                  1.27000                      -      Active                Threaded                        #8-32              -                                                                   -       Aluminum    Iridite       -
                                                  Electronics   8-32 ALUM     Factory                   Non-Stock                         Standoff                         Female                                3/8"              5/8"               5/8"
                                                                5/8"          Stock


                                                                ROUND
                                                  Keystone      STANDOFF      906 -                                                       Round                            Female,                               0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-3485-ND        3485                                                   0.35000      1               -      Active                Threaded                        #6-32              -                                                                   -       Aluminum    Iridite       -
                                                  Electronics   6-32 ALUM     Immediate                                                   Standoff                         Female                                1/4"              1/4"               1/4"
                                                                1/4"

                                                                              492 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    3,800 -                                                     Hex                              Female,                               0.177" (4.50mm)
                  36-24420-ND       24420                       M2.5                       0.39000      1               -      Active                Threaded                        M2.5x0.45          -                          0.197" (5.00mm)    0.197" (5.00mm)       -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                5MM

                                                                              363 -
                                                                ROUND         Immediate
                                                  Keystone      STANDOFF      8,300 -                                                     Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3486-ND        3486                                                   0.39000      1               -      Active                Threaded                        #6-32              -                                                                   -       Aluminum    Iridite       -
                                                  Electronics   6-32 ALUM     Factory                                                     Standoff                         Female                                1/4"              3/8"               3/8"
                                                                3/8"          Stock

                  36-2217-ND        2217          Keystone      HEX           110 -        0.48000      1               -      Active     Hex        Threaded              Female,   #8-32              -        0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)      -       Aluminum    Iridite       -
                                                  Electronics   STANDOFF      Immediate                                                   Standoff                         Female                                1/4" Hex          1/2"               1/2"
                                                                8-32          14,500 -
                                                                ALUMINUM      Factory
                                                                1/2"          Stock




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                                                                                                                                                                                    Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                  Part                                                           Diameter -      Diameter -      Between Board
          Image                                  Manufacturer   Description                                         Series                Type     Threaded/Unthreaded    Gender    Thread                                                       Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity                Status                                                            Inside         Outside            Height
                                                                                                                                                                                     Size



                                                                              536 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,000 -                                                   Hex                              Female,                            0.177" (4.50mm)
                  36-24425-ND       24425                       M2.5                      0.52000      1              -      Active                Threaded                        M2.5x0.45       -                          0.591" (15.00mm)   0.591" (15.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                   Standoff                         Female                             Hex
                                                                ALUMINUM
                                                                              Stock
                                                                15MM

                                                                              374 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     2,300 -                                                   Hex                              Female,                            0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-2218-ND        2218                        8-32                      0.61000      1              -      Active                Threaded                        #8-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                   Standoff                         Female                             1/4" Hex          3/4"               3/4"
                                                                ALUMINUM
                                                                              Stock
                                                                3/4"

                                                                              887 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,100 -                                                   Hex                              Female,                            0.236" (5.99mm)
                  36-24458-ND       24458                       M4                        0.76000      1              -      Active                Threaded                        M4              -                          0.984" (25.00mm)   0.984" (25.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                   Standoff                         Female                             Hex
                                                                ALUMINUM
                                                                              Stock
                                                                25MM

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     727 -                                                     Hex                              Male,                              0.197" (5.00mm)
                  36-24340-ND       24340                       M3                        0.80000      1              -      Active                Threaded                        M3              -                          0.709" (18.00mm)   1.024" (26.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                 Standoff                         Female                             Hex
                                                                ALUMINUM
                                                                18MM
                                                                HEX
                                                                STANDOFF
                                                 Keystone                     347 -                                                     Hex                              Male,                              0.187" (4.75mm)   0.625" (15.88mm)   0.812" (20.62mm)
                  36-NC145074A-ND NC145074A                     4-40                      0.82000      1              -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                 Standoff                         Female                             3/16" Hex         5/8"               13/16"
                                                                ALUMINUM
                                                                5/8"
                                                                HEX
                                                                STANDOFF
                                                 Keystone                     579 -                                                     Hex                              Male,                              0.250" (6.35mm)   0.750" (19.05mm)   1.125" (28.58mm)
                  36-8429-ND        8429                        8-32                      0.87000      1              -      Active                Threaded                        #8-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                 Standoff                         Female                             1/4" Hex          3/4"               1 1/8"
                                                                ALUMINUM
                                                                3/4"

                                                                HEX
                                                 Keystone       STANDOFF      721 -                                                     Hex                              Male,                              0.250" (6.35mm)
                  36-6799-ND        6799                                                  0.92000      1              -      Active                Threaded                        #4-40           -                          0.600" (15.24mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Immediate                                                 Standoff                         Female                             1/4" Hex
                                                                15.24MM

                                                                              536 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     400 -                                                     Hex                              Female,                            0.312" (7.92mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-1821A-ND       1821A                       10-32                     1.14000      1              -      Active                Threaded                        #10-32          -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                   Standoff                         Female                             5/16" Hex         3/8"               3/8"
                                                                ALUMINUM
                                                                              Stock
                                                                3/8"

                                                                              378 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      1,400 -                                                   Hex                              Male,                              0.250" (6.35mm)   1.375" (34.93mm)   1.562" (39.67mm)
                  36-8408-ND        8408                                                  1.40000      1              -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                   Standoff                         Female                             1/4" Hex          1 3/8"             1 9/16"
                                                                1-3/8"        Stock

                                                                              311 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      1,900 -                                                   Hex                              Male,                              0.250" (6.35mm)   1.250" (31.75mm)   1.625" (41.28mm)
                  36-8433-ND        8433                                                  1.44000      1              -      Active                Threaded                        #8-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                   Standoff                         Female                             1/4" Hex          1 1/4"             1 5/8"
                                                                1-1/4"        Stock


                                                 TE             ROUND
                                                 Connectivity   STANDOFF      332 -                                                     Round                            Female,                            0.250" (6.35mm)
                  5205933-3-ND      5205933-3                                             1.48000      1          AMPLIMITE Active                 Threaded                        #4-40           -                          0.435" (11.05mm)   0.435" (11.05mm)      -       Aluminum          -       -
                                                 AMP            4-40 ALUM     Immediate                                                 Standoff                         Female                             1/4"
                                                 Connectors     11.05MM

                                                                              398 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      2,000 -                                                   Hex                              Male,                              0.250" (6.35mm)   1.750" (44.45mm)   1.937" (49.20mm)
                  36-8411-ND        8411                                                  1.51000      1              -      Active                Threaded                        #4-40           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    4-40 ALUM     Factory                                                   Standoff                         Female                             1/4" Hex          1 3/4"             1 15/16"
                                                                1-3/4"        Stock

                                                                              439 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     1,300 -                                                   Round                            Female,                            0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3491-ND        3491                        6-32                      1.53000      1              -      Active                Threaded                        #6-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                   Standoff                         Female                             1/4"              2"                 2"
                                                                ALUMINUM
                                                                              Stock
                                                                2"

                                                                              562 -
                                                                HEX           Immediate
                                                 Keystone       STANDOFF      1,100 -                                                   Hex                              Male,                              0.250" (6.35mm)   1.500" (38.10mm)   1.875" (47.63mm)
                  36-8435-ND        8435                                                  1.57000      1              -      Active                Threaded                        #8-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                   Standoff                         Female                             1/4" Hex          1 1/2"             1 7/8"
                                                                1-1/2"        Stock

                                                                HEX
                                                                STANDOFF
                                                 Keystone                     886 -                                                     Hex                              Male,                              0.250" (6.35mm)   2.000" (50.80mm)   2.375" (60.33mm)
                  36-8438-ND        8438                        8-32                      1.62000      1              -      Active                Threaded                        #8-32           -                                                                   -       Aluminum    Iridite       -
                                                 Electronics                  Immediate                                                 Standoff                         Female                             1/4" Hex          2"                 2 3/8"
                                                                ALUMINUM
                                                                2"
                  36-3492-ND        3492         Keystone       ROUND         549 -       0.35000      1              -      Active     Round      Threaded              Female,   #8-32           -        0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)       -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Immediate                                                 Standoff                         Female                             1/4"              1/4"               1/4"
                                                                              2,900 -




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                                                                                                  24
                                                                                                                                                                                   Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                Part                                                           Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                        Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity              Status                                                            Inside            Outside            Height
                                                                                                                                                                                    Size


                                                                8-32 ALUM     Factory
                                                                1/4"          Stock



                                                                              306 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #8     4,300 -                                                  Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3472-ND        3472                                                   0.35000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              3/8"               3/8"
                                                                3/8"          Stock

                                                                              545 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      2,700 -                                                  Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3493-ND        3493                                                   0.39000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                  Standoff                         Female                                1/4"              3/8"               3/8"
                                                                3/8"          Stock

                                                                              584 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,800 -                                                  Hex                              Female,                               0.236" (5.99mm)
                  36-24452-ND       24452                       M4                         0.41000      1            -      Active                Threaded                        M4               -                            0.315" (8.00mm)    0.315" (8.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                8MM

                                                                              463 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #8     2,500 -                                                  Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-4259-ND        4259                                                   0.42000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              5/8"               5/8"
                                                                5/8"          Stock

                                                                              826 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     3,600 -                                                  Hex                              Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-2216-ND        2216                        8-32                       0.43000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                                1/4" Hex          3/8"               3/8"
                                                                ALUMINUM
                                                                              Stock
                                                                3/8"

                                                                              245 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      1,600 -                                                  Round                            Female,                               0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3494-ND        3494                                                   0.44000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    8-32 ALUM     Factory                                                  Standoff                         Female                                1/4"              1/2"               1/2"
                                                                1/2"          Stock

                                                                              262 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                 Keystone                     200 -                                                    Hex                              Female,                               0.236" (5.99mm)
                  36-24454-ND       24454                       M4                         0.46000      1            -      Active                Threaded                        M4               -                            0.472" (12.00mm)   0.472" (12.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Factory                                                  Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              Stock
                                                                12MM

                                                                              910 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #8     1,800 -                                                  Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3474-ND        3474                                                   0.48000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              3/4"               3/4"
                                                                3/4"          Stock

                                                                              728 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #6     2,700 -                                                  Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3467-ND        3467                                                   0.48000      1            -      Active                Unthreaded                      #6        0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              3/4"               3/4"
                                                                3/4"          Stock

                                                                              198 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #4     1,100 -                                                  Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3460-ND        3460                                                   0.48000      1            -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              3/4"               3/4"
                                                                3/4"          Stock


                                                                ROUND
                                                 Keystone       SPACER #6     459 -                                                    Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-3438-ND        3438                                                   0.49000      1            -      Active                Unthreaded                      #6        0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Immediate                                                Spacer                           Female                                1/4"              7/8"               7/8"
                                                                7/8"

                                                                              189 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #4     600 -                                                    Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-3402-ND        3402                                                   0.49000      1            -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              7/8"               7/8"
                                                                7/8"          Stock

                                                                              528 -
                                                                ROUND         Immediate
                                                 Keystone       STANDOFF      7,600 -                                                  Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1848-ND        1848                                                   0.52000      1            -      Active                Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics    6-32 ALUM     Factory                                                  Standoff                         Female                                1/4"              7/8"               7/8"
                                                                7/8"          Stock

                                                                              377 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #8     800 -                                                    Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3475-ND        3475                                                   0.53000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                                                  Spacer                           Female                                1/4"              1"                 1"
                                                                1"            Stock

                  36-3461-ND        3461                                                   0.53000      1            -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -




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                                                                                                  24
                                                                                                                                                                              Screw,
Compare                         Manufacturer                              Quantity    Unit Price   Minimum                Part                                                           Diameter -         Diameter -      Between Board
          Image                              Manufacturer   Description                                       Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number    Part Number                               Available     USD        Quantity              Status                                                            Inside            Outside            Height
                                                                                                                                                                               Size


                                             Keystone       ROUND         303 -                                                   Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                                             Electronics    SPACER #4     Immediate                                               Spacer                           Female                                1/4"              1"                 1"
                                                            ALUMINUM
                                                            1"

                                                                          610 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     1,500 -                                                 Hex                              Female,                               0.236" (5.99mm)
                  36-24455-ND   24455                       M4                        0.54000      1            -      Active                Threaded                        M4               -                            0.591" (15.00mm)   0.591" (15.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                Hex
                                                            ALUMINUM
                                                                          Stock
                                                            15MM

                                                            HEX
                                                            STANDOFF
                                             Keystone                     164 -                                                   Hex                              Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1827-ND    1827                        8-32                      0.57000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Immediate                                               Standoff                         Female                                1/4" Hex          5/8"               5/8"
                                                            ALUMINUM
                                                            5/8"
                                                                          196 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     600 -                                                   Hex                              Female,                               0.236" (5.99mm)
                  36-24456-ND   24456                       M4                        0.59000      1            -      Active                Threaded                        M4               -                            0.709" (18.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                Hex
                                                            ALUMINUM
                                                                          Stock
                                                            18MM

                                                                          338 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     1,700 -                                                 Hex                              Female,                               0.375" (9.53mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-1926A-ND   1926A                       8-32                      0.71000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                3/8" Hex          3/8"               3/8"
                                                            ALUMINUM
                                                                          Stock
                                                            3/8"

                                                                          128 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     1,600 -                                                 Hex                              Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1828-ND    1828                        8-32                      0.76000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                1/4" Hex          7/8"               7/8"
                                                            ALUMINUM
                                                                          Stock
                                                            7/8"

                                                                          199 -
                                                            ROUND
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     800 -                                                   Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3496-ND    3496                        8-32                      0.79000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                1/4"              1"                 1"
                                                            ALUMINUM
                                                                          Stock
                                                            1"

                                                                          284 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     1,000 -                                                 Hex                              Male,                                 0.236" (5.99mm)
                  36-24352-ND   24352                       M4                        0.83000      1            -      Active                Threaded                        M4               -                            0.709" (18.00mm)   1.102" (28.00mm)      -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                Hex
                                                            ALUMINUM
                                                                          Stock
                                                            18MM

                                                                          213 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     3,600 -                                                 Hex                              Female,                               0.375" (9.53mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-1926D-ND   1926D                       8-32                      1.13000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                3/8" Hex          3/4"               3/4"
                                                            ALUMINUM
                                                                          Stock
                                                            3/4"

                                                            ROUND
                                             Keystone       STANDOFF      203 -                                                   Round                            Female,                               0.375" (9.53mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-2315B-ND   2315B                                                 1.17000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics    8-32 ALUM     Immediate                                               Standoff                         Female                                3/8"              1/2"               1/2"
                                                            1/2"

                                                                          122 -
                                                            ROUND         Immediate
                                             Keystone       SPACER #8     1,200 -                                                 Round                            Female,                               0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3476-ND    3476                                                  1.19000      1            -      Active                Unthreaded                      #8        0.170" (4.32mm)                                                              -       Aluminum    Iridite       -
                                             Electronics    ALUMINUM      Factory                                                 Spacer                           Female                                1/4"              1 1/2"             1 1/2"
                                                            1-1/2"        Stock

                                                                          680 -
                                                            ROUND         Immediate
                                             Keystone       STANDOFF      2,400 -                                                 Round                            Female,                               0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3490-ND    3490                                                  1.32000      1            -      Active                Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics    6-32 ALUM     Factory                                                 Standoff                         Female                                1/4"              1 1/2"             1 1/2"
                                                            1-1/2"        Stock

                                                                          170 -
                                                            HEX
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     1,000 -                                                 Hex                              Female,                               0.375" (9.53mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-1926E-ND   1926E                       8-32                      1.37000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                3/8" Hex          1"                 1"
                                                            ALUMINUM
                                                                          Stock
                                                            1"

                                                                          396 -
                                                            HEX           Immediate
                                             Keystone       STANDOFF      200 -                                                   Hex                              Male,                                 0.250" (6.35mm)   1.125" (28.58mm)   1.500" (38.10mm)
                  36-8432-ND    8432                                                  1.39000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics    8-32 ALUM     Factory                                                 Standoff                         Female                                1/4" Hex          1 1/8"             1 1/2"
                                                            1-1/8"        Stock

                                                                          876 -
                                                            ROUND
                                                                          Immediate
                                                            STANDOFF
                                             Keystone                     14,000 -                                                Round                            Female,                               0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3498-ND    3498                        8-32                      1.53000      1            -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                             Electronics                  Factory                                                 Standoff                         Female                                1/4"              2"                 2"
                                                            ALUMINUM
                                                                          Stock
                                                            2"

                  36-8434-ND    8434         Keystone       HEX           801 -       1.56000      1            -      Active     Hex        Threaded              Male,     #8-32            -          0.250" (6.35mm)   1.375" (34.93mm)   1.750" (44.45mm)      -       Aluminum    Iridite       -
                                             Electronics    STANDOFF      Immediate                                               Standoff                         Female                                1/4" Hex          1 3/8"             1 3/4"




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                                                                                                  24
                                                                                                                                                                                      Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                           Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity                 Status                                                            Inside            Outside            Height
                                                                                                                                                                                       Size


                                                                8-32 ALUM     1,100 -
                                                                1-3/8"        Factory
                                                                              Stock


                                                                              113 -
                                                                ROUND
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    900 -                                                       Round                            Female,                               0.375" (9.53mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-2315E-ND       2315E                       8-32                       1.62000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                3/8"              1"                 1"
                                                                ALUMINUM
                                                                              Stock
                                                                1"

                                                                              733 -
                                                                ROUND         Immediate
                                                  Keystone      STANDOFF      500 -                                                       Round                            Female,                               0.250" (6.35mm)   2.250" (57.15mm)   2.250" (57.15mm)
                  36-1856-ND        1856                                                   1.71000      1               -      Active                Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   6-32 ALUM     Factory                                                     Standoff                         Female                                1/4"              2 1/4"             2 1/4"
                                                                2-1/4"        Stock

                                                                              775 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    300 -                                                       Hex                              Female,                               0.375" (9.53mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1926C-ND       1926C                       8-32                       0.96000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                3/8" Hex          5/8"               5/8"
                                                                ALUMINUM
                                                                              Stock
                                                                5/8"

                                                                              114 -
                                                                HEX           Immediate
                                                  Keystone      STANDOFF      955 -                                                       Hex                              Male,                                 0.250" (6.35mm)   2.500" (63.50mm)   2.875" (73.03mm)
                  36-8439-ND        8439                                                   2.28000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   8-32 ALUM     Factory                                                     Standoff                         Female                                1/4" Hex          2 1/2"             2 7/8"
                                                                2-1/2"        Stock

                                                                              315 -
                                                                HEX
                                                                              Immediate
                                                                STANDOFF
                                                  Keystone                    1,050 -                                                     Hex                              Male,                                 0.250" (6.35mm)   3.000" (76.20mm)   3.375" (85.73mm)
                  36-8440-ND        8440                        8-32                       3.21000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics                 Factory                                                     Standoff                         Female                                1/4" Hex          3"                 3 3/8"
                                                                ALUMINUM
                                                                              Stock
                                                                3"

                                                                              294 -
                                                                ROUND         Immediate
                                                  Keystone      SPACER #8     5,100 -                   1                                 Round                            Female,                                                 1.250" (31.75mm)   1.250" (31.75mm)
                  36-435-ND         435                                                    0.32000                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                  Electronics   ALUMINUM      Factory                   Non-Stock                         Spacer                           Female                                                  1 1/4"             1 1/4"
                                                                1-1/4"        Stock


                                                                ROUND         22,500 -
                                                  Keystone      SPACER #4     Factory                                                     Round                            Female,                               0.250" (6.35mm)   0.125" (3.18mm)    0.125" (3.18mm)
                  36-2036-ND        2036                                                   0.27000      1               -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                  Electronics   ALUMINUM      Stock                                                       Spacer                           Female                                1/4"              1/8"               1/8"
                                                                1/8"

                                                                ROUND         0
                                                                SPACER M3     Standard                                                    Round                            Female,                                                                                                              Gold
                  952-2006-ND       R30-6200414   Harwin Inc.                              0.35000      1           R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)     0.157" (4.00mm)    0.157" (4.00mm)       -       Aluminum                  -
                                                                ALUMINUM      Lead Time                                                   Spacer                           Female                                                                                                               Chromate
                                                                4MM           7 Weeks

                                                                ROUND         0
                                                  Keystone      SPACER #4     Standard                                                    Round                            Female,                               0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3459-ND        3459                                                   0.38000      1               -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                  Electronics   ALUMINUM      Lead Time                                                   Spacer                           Female                                1/4"              1/2"               1/2"
                                                                1/2"          6 Weeks

                                                                HEX
                                                                              0
                                                                STANDOFF
                                                  Keystone                    Standard                                                    Hex                              Male,                                 0.197" (5.00mm)
                  36-24341-ND       24341                       M3                         0.87000      1               -      Active                Threaded                        M3               -                            0.787" (20.00mm)   1.102" (28.00mm)      -       Aluminum    Iridite       -
                                                  Electronics                 Lead Time                                                   Standoff                         Female                                Hex
                                                                ALUMINUM
                                                                              6 Weeks
                                                                20MM
                                                                              69 -
                                                                ROUND         Immediate
                                                  Keystone      STANDOFF      1,100 -                                                     Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3495-ND        3495                                                   0.49000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   8-32 ALUM     Factory                                                     Standoff                         Female                                1/4"              3/4"               3/4"
                                                                3/4"          Stock


                                                                ROUND         700 -
                                                  Keystone      STANDOFF      Factory                                                     Round                            Female,                               0.375" (9.53mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-2315A-ND       2315A                                                  1.11000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   8-32 ALUM     Stock                                                       Standoff                         Female                                3/8"              3/8"               3/8"
                                                                3/8"

                                                                ROUND
                                                  Keystone      SPACER #6     31 -                                                        Round                            Female,                               0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3469-ND        3469                                                   1.23000      1               -      Active                Unthreaded                      #6        0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                                  Electronics   ALUMINUM      Immediate                                                   Spacer                           Female                                1/4"              1 1/2"             1 1/2"
                                                                1-1/2"

                                                                ROUND
                                                  Keystone      STANDOFF      66 -                                                        Round                            Female,                               0.375" (9.53mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-2315D-ND       2315D                                                  1.36000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                  Electronics   8-32 ALUM     Immediate                                                   Standoff                         Female                                3/8"              3/4"               3/4"
                                                                3/4"

                                                                              64 -
                                                                ROUND         Immediate
                                                  Keystone      SPACER #6     600 -                                                       Round                            Female,                               0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3470-ND        3470                                                   1.52000      1               -      Active                Unthreaded                      #6        0.144" (3.66mm)                                                              -       Aluminum    Iridite       -
                                                  Electronics   ALUMINUM      Factory                                                     Spacer                           Female                                1/4"              2"                 2"
                                                                2"            Stock

                  36-8436-ND        8436                                                   1.59000      1               -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -




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                                                                                                  24
                                                                                                                                                                                     Screw,
Compare                            Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                           Diameter -       Diameter -      Between Board
          Image                                 Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                        Length - Overall   Features    Material    Plating   Color
 Parts                Number       Part Number                                Available     USD        Quantity                 Status                                                            Inside          Outside            Height
                                                                                                                                                                                      Size


                                                 Keystone      HEX           1-                                                          Hex                              Male,                               0.250" (6.35mm)   1.625" (41.28mm)   2.000" (50.80mm)
                                                 Electronics   STANDOFF      Immediate                                                   Standoff                         Female                              1/4" Hex          1 5/8"             2"
                                                               8-32 ALUM
                                                               1-5/8"


                                                               ROUND         16,100 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                               0.437" (11.10mm)   0.437" (11.10mm)
                  36-408-ND        408                                                    0.10280                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                7/16"              7/16"
                                                               7/16"

                                                               ROUND         2,200 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                   0.625" (15.88mm)   0.625" (15.88mm)
                  36-403-ND        403                                                    0.11530                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                              5/8"               5/8"
                                                               5/8"

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6200914-ND   R30-6200914   Harwin Inc.             0                0.11610                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.354" (9.00mm)    0.354" (9.00mm)       -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               9MM

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201414-ND   R30-6201414   Harwin Inc.             0                0.12960                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.551" (14.00mm)   0.551" (14.00mm)      -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               14MM

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201514-ND   R30-6201514   Harwin Inc.             0                0.13230                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.591" (15.00mm)   0.591" (15.00mm)      -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               15MM

                                                               ROUND         5,100 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                   0.437" (11.10mm)   0.437" (11.10mm)
                  36-401-ND        401                                                    0.14200                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                              7/16"              7/16"
                                                               7/16"

                                                               ROUND         7,000 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,                                               0.500" (12.70mm)   0.500" (12.70mm)
                  36-402-ND        402                                                    0.14200                      -      Active                Unthreaded                      #4        0.120" (3.05mm) 0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                1/2"               1/2"
                                                               1/2"

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201814-ND   R30-6201814   Harwin Inc.             0                0.15525                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.709" (18.00mm)   0.709" (18.00mm)      -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               18MM

                                                               ROUND         9,300 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                               1.000" (25.40mm)   1.000" (25.40mm)
                  36-427-ND        427                                                    0.16100                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                1"                 1"
                                                               1"

                                                               ROUND         0
                                                               SPACER M3     Standard                  10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201014-ND   R30-6201014   Harwin Inc.                              0.16200                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.394" (10.00mm)   0.394" (10.00mm)      -       Aluminum                 -
                                                               ALUMINUM      Lead Time                 Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               10MM          5 Weeks

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201114-ND   R30-6201114   Harwin Inc.             0                0.16200                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.433" (11.00mm)   0.433" (11.00mm)      -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               11MM

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                            Gold
                  R30-6201214-ND   R30-6201214   Harwin Inc.             0                0.16200                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)   0.472" (12.00mm)   0.472" (12.00mm)      -       Aluminum                 -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                             Chromate
                                                               12MM

                                                               ROUND         5,800 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                   0.750" (19.05mm)   0.750" (19.05mm)
                  36-418-ND        418                                                    0.16300                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                              3/4"               3/4"
                                                               3/4"

                                                               ROUND         3,000 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                   0.875" (22.23mm)   0.875" (22.23mm)
                  36-419-ND        419                                                    0.16550                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                              7/8"               7/8"
                                                               7/8"

                                                               ROUND         0
                                                 Keystone      SPACER #6     Standard                  100                               Round                            Female,                                               0.750" (19.05mm)   0.750" (19.05mm)
                  36-425-ND        425                                                    0.16550                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Lead Time                 Non-Stock                         Spacer                           Female                                                3/4"               3/4"
                                                               3/4"          6 Weeks

                                                               ROUND         2,200 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                               0.875" (22.23mm)   0.875" (22.23mm)
                  36-426-ND        426                                                    0.16900                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                7/8"               7/8"
                                                               7/8"

                                                               ROUND         1,800 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                   1.000" (25.40mm)   1.000" (25.40mm)
                  36-420-ND        420                                                    0.16900                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                              1"                 1"
                                                               1"

                  36-421-ND        421                                                    0.17800                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                            -       Aluminum        -        -




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                                                                                                                                                                                     Screw,
Compare                            Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                           Diameter -         Diameter -      Between Board
          Image                                 Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number       Part Number                                Available     USD        Quantity                 Status                                                            Inside            Outside            Height
                                                                                                                                                                                      Size


                                                 Keystone      ROUND         4,800 -                   100                               Round                            Female,             0.125" (3.18mm)                     1.250" (31.75mm)   1.250" (31.75mm)
                                                 Electronics   SPACER #4     Factory                   Non-Stock                         Spacer                           Female              1/8"                                1 1/4"             1 1/4"
                                                               ALUMINUM      Stock
                                                               1-1/4"


                                                               ROUND         11,100 -
                                                 Keystone      SPACER #4     Factory                   100                               Round                            Female,             0.125" (3.18mm)                     1.500" (38.10mm)   1.500" (38.10mm)
                  36-422-ND        422                                                    0.18100                      -      Active                Unthreaded                      #4                        0.167" (4.24mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female              1/8"                                1 1/2"             1 1/2"
                                                               1-1/2"

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                              Gold
                  R30-6202014-ND   R30-6202014   Harwin Inc.             0                0.18360                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)     0.787" (20.00mm)   0.787" (20.00mm)      -       Aluminum                  -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                               Chromate
                                                               20MM

                                                               ROUND         700 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                                 1.250" (31.75mm)   1.250" (31.75mm)
                  36-428-ND        428                                                    0.19000                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  1 1/4"             1 1/4"
                                                               1-1/4"

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                              Gold
                  R30-6202514-ND   R30-6202514   Harwin Inc.             0                0.20520                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)     0.984" (25.00mm)   0.984" (25.00mm)      -       Aluminum                  -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                               Chromate
                                                               25MM

                                                               ROUND         7,900 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.312" (7.92mm)    0.312" (7.92mm)
                  36-413-ND        413                                                    0.22050                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  5/16"              5/16"
                                                               5/16"

                                                               ROUND         8,900 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.375" (9.53mm)    0.375" (9.53mm)
                  36-414-ND        414                                                    0.22400                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  3/8"               3/8"
                                                               3/8"

                                                               ROUND         3,900 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.437" (11.10mm)   0.437" (11.10mm)
                  36-415-ND        415                                                    0.22600                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  7/16"              7/16"
                                                               7/16"

                                                               ROUND         17,300 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.500" (12.70mm)   0.500" (12.70mm)
                  36-416-ND        416                                                    0.23050                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  1/2"               1/2"
                                                               1/2"

                                                               ROUND         7,100 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                                 1.500" (38.10mm)   1.500" (38.10mm)
                  36-429-ND        429                                                    0.23050                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  1 1/2"             1 1/2"
                                                               1-1/2"

                                                               ROUND
                                                               SPACER M3                               10,000                            Round                            Female,                                                                                                              Gold
                  R30-6203014-ND   R30-6203014   Harwin Inc.             0                0.23355                  R30-620    Active                Unthreaded                      M3        0.126" (3.20mm) 0.197" (5.00mm)     1.181" (30.00mm)   1.181" (30.00mm)      -       Aluminum                  -
                                                               ALUMINUM                                Non-Stock                         Spacer                           Female                                                                                                               Chromate
                                                               30MM

                                                               ROUND         4,800 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.750" (19.05mm)   0.750" (19.05mm)
                  36-432-ND        432                                                    0.26350                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  3/4"               3/4"
                                                               3/4"

                                                               ROUND         2,700 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 0.875" (22.23mm)   0.875" (22.23mm)
                  36-433-ND        433                                                    0.27000                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  7/8"               7/8"
                                                               7/8"

                                                               ROUND         1,000 -
                                                 Keystone      SPACER #6     Factory                   100                               Round                            Female,                                                 1.750" (44.45mm)   1.750" (44.45mm)
                  36-430-ND        430                                                    0.28800                      -      Active                Unthreaded                      #6        0.151" (3.84mm) 0.193" (4.90mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  1 3/4"             1 3/4"
                                                               1-3/4"

                                                               ROUND         2,400 -
                                                 Keystone      SPACER #8     Factory                   100                               Round                            Female,                                                 1.000" (25.40mm)   1.000" (25.40mm)
                  36-434-ND        434                                                    0.29250                      -      Active                Unthreaded                      #8        0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics   ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                                  1"                 1"
                                                               1"

                                                               HEX
                                                                             3,000 -
                                                               STANDOFF
                                                 Keystone                    Factory                   100                               Hex                              Female,                               0.217" (5.50mm)
                  36-24441-ND      24441                       M3                         0.34000                      -      Active                Threaded                        M3               -                            0.236" (6.00mm)    0.236" (6.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                 Stock                     Non-Stock                         Standoff                         Female                                Hex
                                                               ALUMINUM
                                                               6MM
                                                               HEX
                                                                             8,000 -
                                                               STANDOFF
                                                 Keystone                    Factory                   100                               Hex                              Female,                               0.217" (5.50mm)
                  36-24440-ND      24440                       M3                         0.34550                      -      Active                Threaded                        M3               -                            0.197" (5.00mm)    0.197" (5.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                 Stock                     Non-Stock                         Standoff                         Female                                Hex
                                                               ALUMINUM
                                                               5MM

                                                               ROUND         2,100 -
                                                 Keystone      STANDOFF      Factory                   100                               Round                            Female,                               0.250" (6.35mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-1859-ND       1859                                                   0.36560                      -      Active                Threaded                        #8-32            -                                                                     -       Aluminum    Iridite       -
                                                 Electronics   8-32 ALUM     Stock                     Non-Stock                         Standoff                         Female                                1/4"              7/8"               7/8"
                                                               7/8"




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                                                                                                  24
                                                                                                                                                                                    Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                 Part                                                             Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                         Series                Type     Threaded/Unthreaded    Gender    Thread                                                            Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity               Status                                                              Inside            Outside            Height
                                                                                                                                                                                     Size


                  36-436-ND         436          Keystone       ROUND         4,100 -      0.37150      100           -      Active     Round      Unthreaded            Female,   #8          0.178" (4.52mm) 0.232" (5.89mm)     1.500" (38.10mm)   1.500" (38.10mm)      -       Aluminum          -       -
                                                 Electronics    SPACER #8     Factory                   Non-Stock                       Spacer                           Female                                                    1 1/2"             1 1/2"
                                                                ALUMINUM      Stock
                                                                1-1/2"

                                                                HEX
                                                                              1,300 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Female,                                 0.217" (5.50mm)
                  36-24442-ND       24442                       M3                         0.37450                    -      Active                Threaded                        M3                 -                            0.315" (8.00mm)    0.315" (8.00mm)       -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                8MM
                                                                HEX
                                                                              4,900 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Female,                                 0.217" (5.50mm)
                  36-24444-ND       24444                       M3                         0.41300                    -      Active                Threaded                        M3                 -                            0.472" (12.00mm)   0.472" (12.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                12MM

                                                                ROUND         7,600 -
                                                 Keystone       SPACER #8     Factory                   100                             Round                            Female,                                                   1.750" (44.45mm)   1.750" (44.45mm)
                  36-437-ND         437                                                    0.42200                    -      Active                Unthreaded                      #8          0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Stock                     Non-Stock                       Spacer                           Female                                                    1 3/4"             1 3/4"
                                                                1-3/4"

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-NC111112A-ND NC111112A                                                0.43800                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             3/8"               3/8"
                                                                3/8"          6 Weeks

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-NC111132A-ND NC111132A                                                0.44900                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             1/2"               1/2"
                                                                1/2"          6 Weeks

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-NC111092A-ND NC111092A                                                0.46800                    -      Active                Unthreaded                      #2          0.090" (2.29mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             1/4"               1/4"
                                                                1/4"          6 Weeks

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.562" (14.27mm)   0.562" (14.27mm)
                  36-NC111142A-ND NC111142A                                                0.46900                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             9/16"              9/16"
                                                                9/16"         6 Weeks

                                                                ROUND         700 -
                                                 Keystone       SPACER #8     Factory                   100                             Round                            Female,                                                   2.000" (50.80mm)   2.000" (50.80mm)
                  36-438-ND         438                                                    0.48050                    -      Active                Unthreaded                      #8          0.178" (4.52mm) 0.232" (5.89mm)                                              -       Aluminum          -       -
                                                 Electronics    ALUMINUM      Stock                     Non-Stock                       Spacer                           Female                                                    2"                 2"
                                                                2"

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-NC111152A-ND NC111152A                                                0.48200                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             5/8"               5/8"
                                                                5/8"          6 Weeks

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.125" (3.18mm)    0.125" (3.18mm)
                  36-NC111072A-ND NC111072A                                                0.48960                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             1/8"               1/8"
                                                                1/8"          6 Weeks

                                                                HEX
                                                                              4,100 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Female,                                 0.217" (5.50mm)
                  36-24446-ND       24446                       M3                         0.49400                    -      Active                Threaded                        M3                 -                            0.709" (18.00mm)   0.709" (18.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                18MM
                                                                HEX
                                                                              3,800 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Female,                                 0.217" (5.50mm)
                  36-24447-ND       24447                       M3                         0.54250                    -      Active                Threaded                        M3                 -                            0.787" (20.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                20MM

                                                                ROUND         0
                                                 Keystone       SPACER #2     Standard                  500                             Round                            Female,                                 0.187" (4.75mm)   0.187" (4.75mm)    0.187" (4.75mm)
                  36-NC111082A-ND NC111082A                                                0.56880                    -      Active                Unthreaded                      #2          0.091" (2.31mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Lead Time                 Non-Stock                       Spacer                           Female                                  3/16"             3/16"              3/16"
                                                                3/16"         6 Weeks

                                                                HEX
                                                                              12,100 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Male,                                   0.177" (4.50mm)
                  36-24332-ND       24332                       M2.5                       0.72700                    -      Active                Threaded                        M2.5x0.45          -                            0.472" (12.00mm)   0.630" (16.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                12MM
                                                                HEX
                                                                              4,300 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                             Hex                              Male,                                   0.217" (5.50mm)
                  36-24344-ND       24344                       M3                         0.72800                    -      Active                Threaded                        M3                 -                            0.472" (12.00mm)   0.787" (20.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                12MM
                                                                ROUND
                                                                              400 -
                                                                SPACER
                                                 Keystone                     Factory                   100                             Round                            Female,                                 0.312" (7.92mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-4263-ND        4263                        #10                        0.75150                    -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                       Spacer                           Female                                  5/16"             1/2"               1/2"
                                                                ALUMINUM
                                                                1/2"
                  36-24448-ND       24448        Keystone       HEX           8,100 -      0.76400      100           -      Active     Hex        Threaded              Female,   M3                 -          0.217" (5.50mm)   0.984" (25.00mm)   0.984" (25.00mm)      -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Factory                   Non-Stock                       Standoff                         Female                                  Hex
                                                                M3            Stock




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                                                                                                  24
                                                                                                                                                                                      Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                             Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                            Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity                 Status                                                              Inside            Outside            Height
                                                                                                                                                                                       Size


                                                                ALUMINUM
                                                                25MM
                                                                HEX
                                                                              2,600 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Male,                                   0.217" (5.50mm)
                  36-24345-ND       24345                       M3                         0.78400                      -      Active                Threaded                        M3                 -                            0.591" (15.00mm)   0.906" (23.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                15MM
                                                                HEX
                                                                              700 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Male,                                   0.177" (4.50mm)
                  36-24334-ND       24334                       M2.5                       0.79300                      -      Active                Threaded                        M2.5x0.45          -                            0.709" (18.00mm)   0.866" (22.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                18MM
                                                                ROUND
                                                                              800 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-4264-ND        4264                        #10                        0.82600                      -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                  5/16"             5/8"               5/8"
                                                                ALUMINUM
                                                                5/8"
                                                                HEX
                                                                              4,400 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Female,                                 0.177" (4.50mm)
                  36-24428-ND       24428                       M2.5                       0.83700                      -      Active                Threaded                        M2.5x0.45          -                            0.984" (25.00mm)   0.984" (25.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                25MM
                                                                HEX
                                                                              0
                                                                STANDOFF
                                                 Keystone                     Standard                  100                               Hex                              Male,                                   0.217" (5.50mm)
                  36-24347-ND       24347                       M3                         0.89650                      -      Active                Threaded                        M3                 -                            0.787" (20.00mm)   1.102" (28.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Lead Time                 Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                              6 Weeks
                                                                20MM
                                                                HEX
                                                                              8,600 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Male,                                   0.177" (4.50mm)
                  36-24336-ND       24336                       M2.5                       0.91150                      -      Active                Threaded                        M2.5x0.45          -                            0.984" (25.00mm)   1.142" (29.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                25MM
                                                                ROUND
                                                                              300 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-4265-ND        4265                        #10                        0.91350                      -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                  5/16"             3/4"               3/4"
                                                                ALUMINUM
                                                                3/4"
                                                                ROUND
                                                                              5,800 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-4262-ND        4262                        #10                        0.92500                      -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                  5/16"             3/8"               3/8"
                                                                ALUMINUM
                                                                3/8"
                                                                HEX
                                                                              1,200 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Male,                                   0.217" (5.50mm)
                  36-24348-ND       24348                       M3                         0.94750                      -      Active                Threaded                        M3                 -                            0.984" (25.00mm)   1.299" (33.00mm)      -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  Hex
                                                                ALUMINUM
                                                                25MM
                                                                ROUND
                                                                              500 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.875" (22.23mm)   0.875" (22.23mm)
                  36-4266-ND        4266                        #10                        1.04050                      -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                  5/16"             7/8"               7/8"
                                                                ALUMINUM
                                                                7/8"
                                                                RND
                                                                              500 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  36-3500A-ND       3500A                       10-32                      1.14100                      -      Active                Threaded                        #10-32             -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  5/16"             3/8"               3/8"
                                                                ALUMINUM
                                                                3/8"

                                                 TE             ROUND         0
                                                 Connectivity   STANDOFF      Standard                  2,000                             Round                            Female,                                 0.250" (6.35mm)
                  5205933-4-ND      5205933-4                                              1.14476                  AMPLIMITE Active                 Threaded                        #4-40              -                            0.435" (11.05mm)   0.435" (11.05mm)      -       Aluminum          -       -
                                                 AMP            4-40 ALUM     Lead Time                 Non-Stock                         Standoff                         Female                                  1/4"
                                                 Connectors     11.05MM       12 Weeks

                                                                HEX
                                                                              4,500 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Female,                                 0.312" (7.92mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-1821B-ND       1821B                       10-32                      1.19800                      -      Active                Threaded                        #10-32             -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                  5/16" Hex         1/2"               1/2"
                                                                ALUMINUM
                                                                1/2"
                                                                RND
                                                                              0
                                                                STANDOFF
                                                 Keystone                     Standard                  100                               Round                            Female,                                 0.312" (7.92mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  36-3500B-ND       3500B                       10-32                      1.19800                      -      Active                Threaded                        #10-32             -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Lead Time                 Non-Stock                         Standoff                         Female                                  5/16"             1/2"               1/2"
                                                                ALUMINUM
                                                                              6 Weeks
                                                                1/2"
                                                                ROUND
                                                                              700 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                                 0.312" (7.92mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  36-4261-ND        4261                        #10                        1.20600                      -      Active                Unthreaded                      #10         0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                  5/16"             1/4"               1/4"
                                                                ALUMINUM
                                                                1/4"

                                                                ROUND         900 -
                                                 Keystone       SPACER #4     Factory                   100                               Round                            Female,                                 0.250" (6.35mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-3462-ND        3462                                                   1.30400                      -      Active                Unthreaded                      #4          0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Stock                     Non-Stock                         Spacer                           Female                                  1/4"              1 1/2"             1 1/2"
                                                                1-1/2"

                                                                HEX
                                                                              0
                                                                STANDOFF
                                                 Keystone                     Standard                  100                               Hex                              Female,                                 0.312" (7.92mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  36-1821C-ND       1821C                       10-32                      1.33550                      -      Active                Threaded                        #10-32             -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Lead Time                 Non-Stock                         Standoff                         Female                                  5/16" Hex         5/8"               5/8"
                                                                ALUMINUM
                                                                              6 Weeks
                                                                5/8"




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                                                                                                  24
                                                                                                                                                                                      Screw,
Compare             Digi-Key Part   Manufacturer                               Quantity    Unit Price   Minimum                   Part                                                           Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                           Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                                Available     USD        Quantity                 Status                                                            Inside            Outside            Height
                                                                                                                                                                                       Size


                  36-3500C-ND       3500C        Keystone       RND           200 -        1.33550      100             -      Active     Round      Threaded              Female,   #10-32           -          0.312" (7.92mm)   0.625" (15.88mm)   0.625" (15.88mm)      -       Aluminum    Iridite       -
                                                 Electronics    STANDOFF      Factory                   Non-Stock                         Standoff                         Female                                5/16"             5/8"               5/8"
                                                                10-32         Stock
                                                                ALUMINUM
                                                                5/8"
                                                                RND
                                                                              800 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Round                            Female,                               0.312" (7.92mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-3500D-ND       3500D                       10-32                      1.51300                      -      Active                Threaded                        #10-32           -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                5/16"             3/4"               3/4"
                                                                ALUMINUM
                                                                3/4"
                                                                              59 -
                                                                ROUND         Immediate
                                                 Keystone       SPACER #4     100 -                     1                                 Round                            Female,                               0.250" (6.35mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-3463-ND        3463                                                   1.52000                      -      Active                Unthreaded                      #4        0.120" (3.05mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics    ALUMINUM      Factory                   Non-Stock                         Spacer                           Female                                1/4"              2"                 2"
                                                                2"            Stock

                                                                ROUND
                                                                              300 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                               0.312" (7.92mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-4267-ND        4267                        #10                        1.54800                      -      Active                Unthreaded                      #10       0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                5/16"             1"                 1"
                                                                ALUMINUM
                                                                1"
                                                                HEX
                                                                              600 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Female,                               0.312" (7.92mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  36-1821D-ND       1821D                       10-32                      1.56150                      -      Active                Threaded                        #10-32           -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                5/16" Hex         3/4"               3/4"
                                                                ALUMINUM
                                                                3/4"
                                                                HEX
                                                                              4,100 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Hex                              Female,                               0.312" (7.92mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-1821F-ND       1821F                       10-32                      1.69000                      -      Active                Threaded                        #10-32           -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                5/16" Hex         1"                 1"
                                                                ALUMINUM
                                                                1"
                                                                ROUND
                                                                              600 -
                                                                STANDOFF
                                                 Keystone                     Factory                   100                               Round                            Female,                               0.312" (7.92mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  36-3500F-ND       3500F                       10-32                      1.78900                      -      Active                Threaded                        #10-32           -                                                                     -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Standoff                         Female                                5/16"             1"                 1"
                                                                ALUMINUM
                                                                1"
                                                                ROUND
                                                                              100 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                               0.312" (7.92mm)   2.000" (50.80mm)   2.000" (50.80mm)
                  36-4269-ND        4269                        #10                        2.29500                      -      Active                Unthreaded                      #10       0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                5/16"             2"                 2"
                                                                ALUMINUM
                                                                2"
                                                                ROUND
                                                                              700 -
                                                                SPACER
                                                 Keystone                     Factory                   100                               Round                            Female,                               0.312" (7.92mm)   1.500" (38.10mm)   1.500" (38.10mm)
                  36-4268-ND        4268                        #10                        2.52000                      -      Active                Unthreaded                      #10       0.196" (4.98mm)                                                              -       Aluminum    Iridite       -
                                                 Electronics                  Stock                     Non-Stock                         Spacer                           Female                                5/16"             1 1/2"             1 1/2"
                                                                ALUMINUM
                                                                1-1/2"
                                                                HEX
                                                                              0
                                                                STANDOFF
                                                                              Standard                  10                                Hex                              Female,                               0.500" (12.70mm) 2.000" (50.80mm)    2.000" (50.80mm)
                  HB2SP19-X-ND      HB2SP19-X    Panduit Corp   M6                         7.69000                  HBSP       Active                Threaded                        M6x1             -                                                                     -       Aluminum          -       -
                                                                              Lead Time                 Non-Stock                         Standoff                         Female                                1/2" Hex         2"                  2"
                                                                ALUMINUM
                                                                              4 Weeks
                                                                2"
                                                                HEX
                                                                              0
                                                                STANDOFF
                                                                              Standard                  10                                Hex                              Female,                               0.500" (12.70mm) 4.000" (101.60mm) 2.000" (50.80mm)
                  HB2SP25-X-ND      HB2SP25-X    Panduit Corp   M6                         8.35500                  HBSP       Active                Threaded                        M6x1             -                                                                     -       Aluminum          -       -
                                                                              Lead Time                 Non-Stock                         Standoff                         Female                                1/2" Hex         4"                2"
                                                                ALUMINUM
                                                                              4 Weeks
                                                                4"

                                                 TE             ROUND
                                                 Connectivity   STANDOFF                                                                  Round                            Female,                               0.250" (6.35mm)
                  205933-3-ND       205933-3                                  0            Obsolete         -       AMPLIMITE Obsolete               Threaded                        #4-40            -                            0.435" (11.05mm)   0.435" (11.05mm)      -       Aluminum          -       -
                                                 AMP            4-40 ALUM                                                                 Standoff                         Female                                1/4"
                                                 Connectors     11.05MM

                                                 TE             ROUND
                                                 Connectivity   STANDOFF                                                                  Round                            Female,                               0.250" (6.35mm)
                  A23454-ND         205933-4                                  0            Obsolete         -       AMPLIMITE Obsolete               Threaded                        #4-40            -                            0.435" (11.05mm)   0.435" (11.05mm)      -       Aluminum          -       -
                                                 AMP            4-40 ALUM                                                                 Standoff                         Female                                1/4"
                                                 Connectors     11.05MM

                                                                ROUND
                                                 Essentra       SPACER #4                                                                 Round                            Female,                               0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  ALSS 4-2-ND       ALSS 4-2                                  0            Obsolete         -       ALSS       Obsolete              Unthreaded                      #4        0.114" (2.90mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                                  Spacer                           Female                                1/4"              1/4"               1/4"
                                                                1/4"

                                                                ROUND
                                                 Essentra       SPACER #4                                                                 Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  ALSS 4-3-ND       ALSS 4-3                                  0            Obsolete         -       ALSS       Obsolete              Unthreaded                      #4        0.114" (2.90mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                                  Spacer                           Female                                1/4"              3/8"               3/8"
                                                                3/8"

                                                                ROUND
                                                 Essentra       SPACER #4                                                                 Round                            Female,                               0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  ALSS 4-4-ND       ALSS 4-4                                  0            Obsolete         -       ALSS       Obsolete              Unthreaded                      #4        0.114" (2.90mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                                  Spacer                           Female                                1/4"              1/2"               1/2"
                                                                1/2"

                                                                ROUND
                                                 Essentra       SPACER #4                                                                 Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  ALSS 4-5-ND       ALSS 4-5                                  0            Obsolete         -       ALSS       Obsolete              Unthreaded                      #4        0.114" (2.90mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                                  Spacer                           Female                                1/4"              5/8"               5/8"
                                                                5/8"

                  ALSS 4-6-ND       ALSS 4-6     Essentra       ROUND         0            Obsolete         -       ALSS       Obsolete   Round      Unthreaded            Female,   #4        0.114" (2.90mm) 0.250" (6.35mm)     0.750" (19.05mm)   0.750" (19.05mm)      -       Aluminum    Iridite       -
                                                 Components     SPACER #4                                                                 Spacer                           Female                              1/4"                3/4"               3/4"




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                                                                                                  24
                                                                                                                                                                                   Screw,
Compare             Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                            Diameter -         Diameter -      Between Board
          Image                                  Manufacturer   Description                                        Series                Type     Threaded/Unthreaded    Gender    Thread                                                          Length - Overall   Features    Material     Plating   Color
 Parts                Number        Part Number                               Available     USD        Quantity              Status                                                             Inside            Outside            Height
                                                                                                                                                                                    Size


                                                                ALUMINUM
                                                                3/4"




                                                                ROUND
                                                 Essentra       SPACER #4                                                              Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  ALSS 4-8-ND       ALSS 4-8                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #4        0.114" (2.90mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1"                 1"
                                                                1"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  ALSS 6-2-ND       ALSS 6-2                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1/4"               1/4"
                                                                1/4"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  ALSS 6-3-ND       ALSS 6-3                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              3/8"               3/8"
                                                                3/8"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  ALSS 6-4-ND       ALSS 6-4                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1/2"               1/2"
                                                                1/2"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  ALSS 6-5-ND       ALSS 6-5                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              5/8"               5/8"
                                                                5/8"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  ALSS 6-6-ND       ALSS 6-6                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              3/4"               3/4"
                                                                3/4"

                                                                ROUND
                                                 Essentra       SPACER #6                                                              Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  ALSS 6-8-ND       ALSS 6-8                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #6        0.140" (3.56mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1"                 1"
                                                                1"

                                                                ROUND
                                                 Essentra       SPACER #8                                                              Round                            Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  ALSS 8-3-ND       ALSS 8-3                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #8        0.166" (4.22mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              3/8"               3/8"
                                                                3/8"

                                                                ROUND
                                                 Essentra       SPACER #8                                                              Round                            Female,                               0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                  ALSS 8-4-ND       ALSS 8-4                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #8        0.166" (4.22mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1/2"               1/2"
                                                                1/2"

                                                                ROUND
                                                 Essentra       SPACER #8                                                              Round                            Female,                               0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  ALSS 8-5-ND       ALSS 8-5                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #8        0.166" (4.22mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              5/8"               5/8"
                                                                5/8"

                                                                ROUND
                                                 Essentra       SPACER #8                                                              Round                            Female,                               0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  ALSS 8-6-ND       ALSS 8-6                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #8        0.166" (4.22mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              3/4"               3/4"
                                                                3/4"

                                                                ROUND
                                                 Essentra       SPACER #8                                                              Round                            Female,                               0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                  ALSS 8-8-ND       ALSS 8-8                                  0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #8        0.166" (4.22mm)                                                              -       Aluminum    Iridite       -
                                                 Components     ALUMINUM                                                               Spacer                           Female                                1/4"              1"                 1"
                                                                1"

                                                                ROUND
                                                                SPACER
                                                 Essentra                                                                              Round                            Female,                               0.375" (9.53mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  ALSS10-3-ND       ALSS10-3                    #10           0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #10       0.192" (4.88mm)                                                              -       Aluminum    Iridite       -
                                                 Components                                                                            Spacer                           Female                                3/8"              3/8"               3/8"
                                                                ALUMINUM
                                                                3/8"
                                                                ROUND
                                                                SPACER
                                                 Essentra                                                                              Round                            Female,                               0.375" (9.53mm)   0.625" (15.88mm)   0.625" (15.88mm)
                  ALSS10-5-ND       ALSS10-5                    #10           0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #10       0.192" (4.88mm)                                                              -       Aluminum    Iridite       -
                                                 Components                                                                            Spacer                           Female                                3/8"              5/8"               5/8"
                                                                ALUMINUM
                                                                5/8"
                                                                ROUND
                                                                SPACER
                                                 Essentra                                                                              Round                            Female,                               0.375" (9.53mm)   0.750" (19.05mm)   0.750" (19.05mm)
                  ALSS10-6-ND       ALSS10-6                    #10           0           Obsolete        -       ALSS      Obsolete              Unthreaded                      #10       0.192" (4.88mm)                                                              -       Aluminum    Iridite       -
                                                 Components                                                                            Spacer                           Female                                3/8"              3/4"               3/4"
                                                                ALUMINUM
                                                                3/4"
                                                                HEX
                                                                STANDOFF
                                                 Essentra                                                                              Hex                              Female,                               0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                  TALHS 6-2-ND      TALHS 6-2                   6-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                 Components                                                                            Standoff                         Female                                1/4" Hex          1/4"               1/4"
                                                                ALUMINUM
                                                                1/4"
                                                                HEX
                                                                STANDOFF
                                                 Essentra                                                                              Hex                              Female,                               0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                  TALHS 6-3-ND      TALHS 6-3                   6-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #6-32            -                                                                     -       Aluminum    Iridite       -
                                                 Components                                                                            Standoff                         Female                                1/4" Hex          3/8"               3/8"
                                                                ALUMINUM
                                                                3/8"




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Board Spacers, Standoffs | DigiKey                                                                                                                                                                                                                                                           Page 23 of 23
                                  Case
                                   Case3:17-cv-00939-WHA
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                                                                                                                                                                                               Screw,
Compare                         Digi-Key Part   Manufacturer                              Quantity    Unit Price   Minimum                Part                                                          Diameter -      Diameter -      Between Board
                     Image                                   Manufacturer   Description                                        Series                Type     Threaded/Unthreaded    Gender    Thread                                                     Length - Overall   Features    Material     Plating     Color
 Parts                            Number        Part Number                               Available     USD        Quantity              Status                                                           Inside         Outside            Height
                                                                                                                                                                                                Size


                             TALHS 6-4-ND       TALHS 6-4    Essentra       HEX           0           Obsolete        -       TALHS     Obsolete   Hex        Threaded              Female,   #6-32         -        0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)      -       Aluminum    Iridite         -
                                                             Components     STANDOFF                                                               Standoff                         Female                           1/4" Hex          1/2"               1/2"
                                                                            6-32
                                                                            ALUMINUM
                                                                            1/2"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                             TALHS 6-5-ND       TALHS 6-5                   6-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #6-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          5/8"               5/8"
                                                                            ALUMINUM
                                                                            5/8"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                             TALHS 6-8-ND       TALHS 6-8                   6-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #6-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          1"                 1"
                                                                            ALUMINUM
                                                                            1"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
                             TALHS 8-2-ND       TALHS 8-2                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          1/4"               1/4"
                                                                            ALUMINUM
                                                                            1/4"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.375" (9.53mm)    0.375" (9.53mm)
                             TALHS 8-3-ND       TALHS 8-3                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          3/8"               3/8"
                                                                            ALUMINUM
                                                                            3/8"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.500" (12.70mm)   0.500" (12.70mm)
                             TALHS 8-4-ND       TALHS 8-4                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          1/2"               1/2"
                                                                            ALUMINUM
                                                                            1/2"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.625" (15.88mm)   0.625" (15.88mm)
                             TALHS 8-5-ND       TALHS 8-5                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          5/8"               5/8"
                                                                            ALUMINUM
                                                                            5/8"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.750" (19.05mm)   0.750" (19.05mm)
                             TALHS 8-6-ND       TALHS 8-6                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          3/4"               3/4"
                                                                            ALUMINUM
                                                                            3/4"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   1.000" (25.40mm)   1.000" (25.40mm)
                             TALHS 8-8-ND       TALHS 8-8                   8-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #8-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          1"                 1"
                                                                            ALUMINUM
                                                                            1"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.375" (9.53mm)   0.375" (9.53mm)    0.375" (9.53mm)
                             TALHS10-3-ND       TALHS10-3                   10-32         0           Obsolete        -       TALHS     Obsolete              Threaded                        #10-32        -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           3/8" Hex          3/8"               3/8"
                                                                            ALUMINUM
                                                                            3/8"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.375" (9.53mm)   0.500" (12.70mm)   0.500" (12.70mm)
                             TALHS10-4-ND       TALHS10-4                   10-32         0           Obsolete        -       TALHS     Obsolete              Threaded                        #10-32        -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           3/8" Hex          1/2"               1/2"
                                                                            ALUMINUM
                                                                            1/2"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.375" (9.53mm)   0.625" (15.88mm)   0.625" (15.88mm)
                             TALHS10-5-ND       TALHS10-5                   10-32         0           Obsolete        -       TALHS     Obsolete              Threaded                        #10-32        -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           3/8" Hex          5/8"               5/8"
                                                                            ALUMINUM
                                                                            5/8"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.375" (9.53mm)   0.750" (19.05mm)   0.750" (19.05mm)
                             TALHS10-6-ND       TALHS10-6                   10-32         0           Obsolete        -       TALHS     Obsolete              Threaded                        #10-32        -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           3/8" Hex          3/4"               3/4"
                                                                            ALUMINUM
                                                                            3/4"
                                                                            HEX
                                                                            STANDOFF
                                                             Essentra                                                                              Hex                              Female,                          0.250" (6.35mm)   0.250" (6.35mm)    0.250" (6.35mm)
            -                TALHS6-2-ND        TALHS6-2                    6-32          0           Obsolete        -       TALHS     Obsolete              Threaded                        #6-32         -                                                                   -       Aluminum    Iridite         -
                                                             Components                                                                            Standoff                         Female                           1/4" Hex          1/4"               1/4"
                                                                            ALUMINUM
                                                                            1/4"

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